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            EXHIBIT 5
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              SUPREME COURT OF THE STATE OF NEW YORK
              COUNTY OF NEW YORK

              The City of New York,
                                                                SUMMONS
                                     Plaintiff,
                                                                JURY TRIAL DEMANDED
                     -against-

              Exxon Mobil Corp., ExxonMobil Oil                 Index No.
              Corporation, Royal Dutch Shell plc, Shell Oil
              Company, BP p.l.c., BP America Inc., and          Date:
              American Petroleum Institute,

                             Defendants.




                TO THE ABOVE-NAMED DEFENDANTS:
                Exxon Mobil Corp.

                ExxonMobil Oil Corporation

                Royal Dutch Shell plc

                Shell Oil Company

                BP p.l.c.

                BP America Inc.

                American Petroleum Institute

                YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve

         a copy of your answer on Plaintiff’s attorney within 20 days after the service of this summons,

         exclusive of the day of service (or within 30 days after the service is complete if this summons is

         not personally delivered to you within the State of New York); and in case of your failure to appear




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         or answer, judgment will be taken against you by default for the relief demanded in the complaint.

         The action will be heard in the Supreme Court of the State of New York in the County of New

         York. Venue is proper under CPLR § 505(a) because Plaintiff’s principal office is at City Hall

         Park, New York, NY 10007.

          Dated: April 22, 2021              JAMES E. JOHNSON
                                             Corporation Counsel of the City of New York

                                             /s/ Hilary Meltzer
                                       By:
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         1
             Special Assistant Corporation Counsel (passed the October 2020 Uniform Bar Exam).




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             SUPREME COURT OF THE STATE OF NEW YORK
             COUNTY OF NEW YORK

             The City of New York,
                                                             VERIFIED COMPLAINT
                                   Plaintiff,
                                                             JURY TRIAL DEMANDED
                    -against-

             Exxon Mobil Corp., ExxonMobil Oil               Index No.
             Corporation, Royal Dutch Shell plc, Shell Oil
             Company, BP p.l.c., BP America Inc., and        Date:
             American Petroleum Institute,

                           Defendants.




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          FIRST CAUSE OF ACTION
             Engaging in deceptive trade practices in violation of NYC Code § 20-700
             ExxonMobil, Shell, and BP have deceived NYC consumers by misrepresenting
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                The City of New York (“the City” or “Plaintiff”), by its attorney James E. Johnson,

         Corporation Counsel of the City of New York, brings this action against Exxon Mobil Corp.,

         ExxonMobil Oil Corporation, Royal Dutch Shell plc, Shell Oil Company, BP p.l.c., and BP

         America Inc., and the American Petroleum Institute (collectively “Defendants”), for violations of

         the City’s Consumer Protection Law (“CPL”), New York City Administrative Code (“NYC

         Code”) §§ 20-700 et seq. In support of its claims, the City pleads as follows:

                                                INTRODUCTION

                1.      Climate change is one of the greatest threats facing humanity and a central focus of

         consumers’ anxiety about the future. This concern is driving consumer choices between fossil fuels

         and transportation and energy alternatives.

                2.      Defendants—three of the largest oil and gas companies and their top industry trade

         association—have systematically and intentionally misled consumers in New York City (“NYC

         consumers”) about the central role their products play in causing the climate crisis. They have

         engaged in this deceptive conduct both to compete against growing safer energy options and to

         distinguish themselves from industry competitors as they vie for consumer dollars.

                3.      Defendants know that their crude oil, petroleum, natural gas, and related

         hydrocarbon products (together, “fossil fuels”) warm the planet by creating greenhouse gas

         pollution. They know that the extraction, refinement, and combustion of fossil fuels are the primary

         driver of climate change. And they know that continued use of their fossil fuel products will wreak

         havoc on the planet, causing irreversible changes to the climate system with severe and deadly

         consequences for people and the environment. In light of their sophisticated understanding of the

         causes and effects of climate change—and their products’ central role in causing it—Defendants’

         multipronged efforts to mislead consumers about the climate impacts of their products and

         businesses are all the more the egregious.

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                 4.      As Defendants are aware, NYC consumers are seeking out products and services

         that have less of an adverse impact on the environment and are supporting companies that purport

         to align with these values. In particular, there is a growing desire among consumers to reduce fossil

         fuel consumption, and to find other opportunities to fulfill their energy needs with energy

         generated through means considered to be less harmful to the environment and to the climate in

         particular. See Section I, infra.

                 5.      ExxonMobil, Shell, and BP deceive NYC consumers by misrepresenting the

         climate impacts of various gasoline products sold at their branded service stations in the City. In a

         bid to reassure consumers that purchasing these products is good for the planet, ExxonMobil, Shell,

         and BP advertise them as “cleaner” and “emissions-reducing,” but fail to disclose their harmful

         effects on the climate. This strategy comes straight out of the advertising playbook of Big Tobacco,

         which deceptively promoted “low tar” and “light” cigarettes as healthier smoking options, when

         they knew that any use of cigarettes was harmful. See Section II, infra.

                 6.      At the same time, through advertisements, social media posts, and other

         promotional materials directed at NYC consumers, ExxonMobil, Shell, and BP falsely present

         themselves as corporate leaders in the fight against climate change, knowing that they can sell

         more products if they are viewed as environmentally responsible. They claim to invest

         substantially in low-emission technologies and zero-emission renewable energy, such as solar,

         wind, and battery storage (“clean energy resources”). In fact, as underscored in Figure 1 below,

         these investments constitute only a miniscule percentage of their total business. In light of this

         discrepancy, these defendants mislead NYC consumers by presenting clean energy resources as a

         significant portion of their overall businesses, which instead continues to be overwhelmingly

         focused on fossil fuel production and sales. Additionally, as with their gasoline products,




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         ExxonMobil, Shell, and BP misleadingly advertise their other fossil fuel products, such as natural

         gas, as “green” or “cleaner,” giving NYC consumers the false impression that they can help combat

         climate change by purchasing these products. In reality, though, Defendants know the supposed

         environmental benefits are a mirage. See Section III, infra.




                             Figure 1: Oil and gas industry capital investment in 2019
                                   Data source: International Energy Agency 2

                7.      The American Petroleum Institute (“API”), the oil and gas industry’s largest trade

         association, spreads its own deceptive advertising on behalf of ExxonMobil, Shell, and BP (three

         of its leading members) and its other member companies. API misleads NYC consumers by

         promoting fossil fuels as integral to “climate solutions” without disclosing that fossil fuels are the

         primary cause of climate change. This and other messaging aim to ensure a continued and growing

         market for API’s member companies’ oil and gas products by deceptively portraying their use as

         compatible with NYC consumers’ environmental values. See Section IV, infra.

                8.      In waging these deceptive advertising campaigns, Defendants are intentionally

         depriving NYC consumers of information that is material to their purchasing decisions, all with

         the goal of attracting new consumers to their fossil fuel products and preventing the mass defection


         2
            International Energy Agency, The Oil and Gas Industry in Energy Transitions (Jan. 2020),
         https://www.iea.org/reports/the-oil-and-gas-industry-in-energy-transitions.


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         of existing consumers to cleaner alternatives that contribute substantially less to climate change.

         That deception is working: ExxonMobil, Shell, and BP are realizing massive profits, which in turn

         have enabled the unabated and expanded extraction, production, promotion, marketing, and sale

         of fossil fuel products.

                 9.      Defendants’ conduct violates the CPL, NYC Code §§ 20-700 et seq. The City seeks

         injunctive relief, civil penalties, and costs to stop Defendants from continuing these and similar

         unlawful trade practices.

                                                        PARTIES

                 A.      Plaintiff

                 10.     Plaintiff City of New York is a municipal corporation incorporated under the laws

         of the State of New York. The City is responsible for the welfare of its more than 8.5 million

         residents, as well as the millions of additional people who work in or visit New York City each

         day. The CPL charges the City with protecting the public from deceptive and unconscionable

         business practices.

                 B.      Defendants

                 11.     ExxonMobil Entities

                         a.         Exxon Mobil Corporation is a multi-national, vertically integrated, energy

                 and chemicals company incorporated in New Jersey with its headquarters and principal

                 place of business in Irving, Texas. Exxon Mobil Corporation is among the largest publicly

                 traded oil and gas companies in the world. Exxon Mobil Corporation was formerly known

                 as, did or does business as, and/or is the successor in liability to ExxonMobil Refining and

                 Supply Company; Exxon Chemical U.S.A.; ExxonMobil Chemical Corporation;

                 ExxonMobil Chemical U.S.A.; ExxonMobil Refining & Supply Corporation; Exxon

                 Company, U.S.A.; Exxon Corporation; and Mobil Corporation.


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                       b.      Exxon Mobil Corporation controls and directs companywide decisions

               related to all aspects of the allegations contained herein, including but not limited to

               advertising and messaging strategy, and including, in particular, companywide advertising

               and public communications concerning climate change and the relationship between fossil

               fuel use and climate change. Exxon Mobil Corporation’s control over companywide

               advertising and messaging includes control over positions taken in communications

               directed at NYC consumers.

                       c.      Exxon Mobil Corporation has been registered to do business in New York

               since 1950. For decades, Exxon Corporation and Mobil Corporation (which later merged)

               were headquartered in the state of New York, and Mobil Corporation was headquartered

               in New York City for 30 years.

                       d.      ExxonMobil Oil Corporation is a wholly owned subsidiary of Exxon Mobil

               Corporation that acts on Exxon Mobil Corporation’s behalf and subject to Exxon Mobil

               Corporation’s control. ExxonMobil Oil Corporation is incorporated in New York with its

               principal place of business in Irving, Texas. ExxonMobil Oil Corporation was formerly

               known as, did or does business as, and/or is the successor in liability to Mobil Oil

               Corporation.

                       e.      As used in this Complaint, “ExxonMobil” refers collectively to Exxon

               Mobil Corporation and ExxonMobil Oil Corporation, and their predecessors, successors,

               parents, subsidiaries, affiliates, and divisions.

                       f.      ExxonMobil consists of numerous divisions and affiliates in all areas of the

               fossil fuel industry, including exploration for and production of crude oil and natural gas;

               manufacture of petroleum products; and transportation, promotion, marketing, and sale of




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                   crude oil, natural gas, and petroleum products. Exxon is also a major manufacturer and

                   marketer of commodity petrochemical products.

                           g.      ExxonMobil transacts and has transacted substantial fossil fuel-related

                   business in New York City and New York State. ExxonMobil supplies gasoline to New

                   York State from a number of its refineries to the New York Harbor area via the Colonial

                   Pipeline and other pipelines, with a substantial portion supplying New York State.

                   ExxonMobil markets or has marketed gasoline and other fossil fuel products to NYC

                   consumers, including through Exxon-branded and Mobil-branded petroleum service

                   stations in the City, displaying and using ExxonMobil trademarks, and selling

                   ExxonMobil-branded gasoline and other branded products. ExxonMobil maintains

                   gasoline stations throughout New York State and the New York City metropolitan area as

                   well, all bearing the Exxon or Mobil banner.

                           h.      ExxonMobil directs NYC consumers to this network of retail gas stations

                   through its interactive website, which identifies the locations of such stations by street

                   address following the input of the consumer’s location or by zip code. 3

                           i.      ExxonMobil also markets and sells petroleum products to NYC consumers

                   through retail automotive stores and other retail locations in the City. Those products

                   include engine lubricants and motor oils sold under the Mobil 1 brand name, which is

                   owned by ExxonMobil.

                           j.      ExxonMobil offers NYC consumers a proprietary credit card known as the

                   “ExxonMobil Smart Card,” which allows NYC consumers to pay for gasoline and other

                   products at Exxon- and Mobil-branded service stations, including in the City. Consumers



         3
             See ExxonMobil “Find a gas station near me,” https://www.exxon.com/en/find-station.


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               who use the ExxonMobil Smart Card receive various rewards, including discounts on

               gasoline purchases.

                      k.      ExxonMobil developed and supports a smartphone application known as

               Rewards+, through which NYC consumers set up personal accounts and use the application

               as a payment platform for buying gasoline, diesel fuel, and other products at Exxon- and

               Mobil-branded retail gas stations. Both the ExxonMobil Smart Card and the Rewards+

               application are designed to induce customer affinity and brand loyalty and to capture

               ExxonMobil market share in the gasoline market.

                      l.      ExxonMobil has engaged in national print and online advertising campaigns

               that have deliberately targeted consumers throughout the United States, including in New

               York City, in order to increase its sales. ExxonMobil has purposely availed itself of New

               York’s marketplace through nationwide advertising it knew would reach NYC consumers.

               12.    Shell Entities

                      a.      Royal Dutch Shell plc is a vertically integrated, multinational energy and

               petrochemical company. Royal Dutch Shell plc is incorporated in England and Wales, with

               its headquarters and principal place of business in the Hague, Netherlands. Royal Dutch

               Shell PLC consists of over a thousand divisions, subsidiaries, and affiliates engaged in all

               aspects of the fossil fuel industry, including exploration, development, extraction,

               manufacturing, and energy production, transport, trading, marketing, and sales.

                      b.      Royal Dutch Shell plc controls and directs companywide decisions related

               to all aspects of all allegations contained herein, including but not limited to advertising

               and messaging strategy, such as companywide advertising and public communications

               concerning climate change and the relationship between fossil fuel use and climate change.




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               Royal Dutch Shell PLC’s control over companywide advertising and messaging includes

               control over positions taken in communications directed at NYC consumers.

                      c.      Shell Oil Company is a wholly owned subsidiary of Royal Dutch Shell PLC

               that acts on Royal Dutch Shell plc’s behalf and subject to Royal Dutch Shell plc’s control.

               Shell Oil Company is incorporated in Delaware with its principal place of business in

               Houston, Texas. Shell Oil Company was formerly known as, did or does business as, and/or

               is the successor in liability to Deer Park Refining LP; Shell Oil; Shell Oil Products; Shell

               Chemical; Shell Trading US; Shell Trading (US) Company; Shell Energy Services; The

               Pennzoil Company; Shell Oil Products Company LLC; Shell Oil Products Company; Star

               Enterprise LLC; and Pennzoil-Quaker State Company. Shell Oil Company has been

               registered to do business in New York since 1936. Shell’s agent and subsidiary Shell Oil

               Company had an office in New York City at least as early 1939 and had its headquarters

               in New York City for over 20 years.

                      d.      Defendants Royal Dutch Shell plc, Shell Oil Company, and their

               predecessors, successors, parents, subsidiaries, affiliates, and divisions are collectively

               referred to as “Shell.”

                      e.      Shell transacts and has transacted substantial fossil fuel-related business in

               New York, including the marketing and promotion of gasoline and other fossil fuel

               products to consumers, including through dozens of Shell-branded petroleum service

               stations in New York City, displaying and using Shell trademarks, and selling Shell-

               branded gasoline and other branded products. In 2006, after Shell added numerous branded

               gas stations in New York City, a spokesperson said: “By signing supply agreements with




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                the retail operators of the 59 sites in New York City, we are reinforcing our goal of

                becoming a preferred fuels supplier by doubling our presence in that market.” 4

                        f.      Shell markets and sells other products including engine lubricant and motor

                oils to NYC consumers under its Pennzoil brand name, at retail outlets within New York

                City, including Advance Auto Parts, Target, Autozone, Shell-branded service stations, and

                other local automotive supply businesses.

                        g.      Shell offers a proprietary credit card known as the “Shell Fuel Rewards

                Card,” which allows NYC consumers to pay for gasoline and other products at Shell-

                branded service stations, including in the City. NYC Consumers who use the Shell Fuel

                Rewards Card receive various rewards, including discounts on gasoline purchases at Shell

                service stations and cash rebates.

                        h.      Shell maintains an interactive website that allows NYC consumers to locate

                Shell-branded gas stations in the City. 5 Shell further maintains a smartphone application

                known as the “Shell US App” that offers NYC consumers a cashless payment method for

                gasoline and other products at Shell-branded service stations. NYC consumers use the

                payment method by providing their credit card information through the application. NYC

                consumers can also receive rewards including discounts on gasoline purchases by

                registering their personal identifying information into the Shell US App and using the

                application to identify and activate gas pumps at Shell service stations during a purchase.

                Both the Shell Fuel Rewards Card and the Shell US App are designed to induce customer

                affinity and brand loyalty and to capture Shell market share in the gasoline market.



         4
             Shell to ‘Make It There’ in NY, NY, CSP DAILY NEWS (June                              6,   2006),
         https://www.cspdailynews.com/fuels/shell-make-it-there-ny-ny.
         5
           Shell, “Gas station near me,” https://www.shell.us/motorist/gas-station-near-me.html.


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                      i.      Shell also owns and operates refineries that supply gasoline to the New

               York Harbor area and is a partial owner of the Colonial Pipeline which supplies substantial

               quantities of gasoline to the northeastern United States, including New York State.

                      j.      Shell has engaged in national print and online advertising campaigns that

               have deliberately targeted consumers throughout the United States, including in New York

               City, in order to increase its sales. Shell has purposely availed itself of New York’s

               marketplace through nationwide advertising it knew would reach NYC consumers.

               13.    BP Entities

                      a.      BP p.l.c. is a multinational, vertically integrated energy and petrochemical

               public limited company, registered in England and Wales with its principal place of

               business in London, England. BP p.l.c. consists of three main operating segments:

               (1) exploration and production; (2) refining and marketing; and (3) gas power and

               renewables. BP p.l.c. is the ultimate parent company of numerous subsidiaries, which

               explore for and extract oil and gas worldwide; refine oil into fossil fuel products such as

               gasoline; and market and sell oil, fuel, other refined petroleum products, and natural gas

               worldwide. BP p.l.c.’s subsidiaries explore for oil and natural gas under a wide range of

               licensing, joint arrangement, and other contractual agreements.

                      b.      BP p.l.c. controls and directs companywide decisions related to all aspects

               of all allegations contained herein, including but not limited to advertising and messaging

               strategy, including, in particular, companywide advertising and public communications

               concerning climate change and the relationship between fossil fuel use and climate change.

               BP p.l.c.’s control over companywide advertising and messaging includes control over

               positions taken in communications directed at NYC consumers.




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                       c.      BP America Inc. is a wholly owned subsidiary of BP p.l.c. that acts on BP

               p.l.c.’s behalf and is subject to BP p.l.c.’s control. BP America Inc. is a vertically integrated

               energy and petrochemical company incorporated in Delaware with its headquarters and

               principal place of business in Houston, Texas. BP America Inc. consists of numerous

               divisions and affiliates in all aspects of the fossil fuel industry, including exploration for

               and production of crude oil and natural gas; manufacture of petroleum products; and

               transportation, marketing, and sale of crude oil, natural gas, and petroleum products. BP

               America Inc. has been registered to do business in New York since 1978. BP America Inc.

               was formerly known as, did or does business as, and/or is the successor in liability to

               Amoco Corporation; Amoco Oil Company; ARCO Products Company; Atlantic Richfield

               Delaware Corporation; Atlantic Richfield Company (a Delaware Corporation); BP

               Exploration & Oil, Inc.; BP Products North America Inc.; BP Amoco Corporation; BP

               Amoco plc; BP Oil, Inc.; BP Oil Company; Sohio Oil Company; Standard Oil of Ohio

               (SOHIO); Standard Oil (Indiana); The Atlantic Richfield Company (a Pennsylvania

               corporation) and its division, the Arco Chemical Company. Atlantic Richfield Company’s

               headquarters were located in New York State until 1972.

                       d.      Defendants BP p.l.c. and BP America Inc., and their predecessors,

               successors, parents, subsidiaries, affiliates, and divisions are collectively referred to herein

               as “BP.”

                       e.      BP transacts and has transacted substantial fossil fuel-related business in

               New York, including the marketing and promotion of gasoline and other fossil fuel

               products to NYC consumers, including through BP-branded petroleum service stations in




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                   the City, displaying and using BP trademarks, and selling BP-branded gasoline and other

                   branded products.

                           f.      BP markets and sells other products including engine lubricant and motor

                   oils to NYC consumers under its Castrol brand name at retail outlets within the City,

                   including Autozone, Advance Auto Parts, BP-branded service stations, and other local

                   automotive supply businesses.

                           g.      BP offers a proprietary credit card known as the “BP Credit Card,” which

                   allows NYC consumers to pay for gasoline and other products at BP- and Amoco-branded

                   service stations, including in the City. NYC consumers who use the BP Credit Card receive

                   various rewards, including discounts on gasoline purchases at BP and Amoco

                   service stations.

                           h.      BP maintains an interactive website that allows consumers to locate BP-

                   and Amoco-branded gas stations in New York City. 6 BP further maintains a smartphone

                   application known as “BPme Rewards” that offers NYC consumers a cashless payment

                   method for gasoline and other products at BP- and Amoco-branded service stations. NYC

                   consumers use the payment method by providing their credit card information through the

                   application. NYC consumers can also receive rewards including discounts on gasoline

                   purchases by registering their personal identifying information into the BPme Rewards

                   application and using the application to identify and activate gas pumps at BP and Amoco

                   service stations during a purchase. Both the BP Credit Card and BPme Rewards are




         6
             BP, “Find a gas station,” https://www.bp.com/en_us/united-states/home/find-a-gas-station.html.


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                 designed to induce customer affinity and brand loyalty and to capture BP market share in

                 the gasoline market.

                         i.      BP has engaged in national print and online advertising campaigns that have

                 deliberately targeted consumers throughout the United States, including in New York City,

                 in order to increase its sales. BP has purposely availed itself of New York’s marketplace

                 through nationwide advertising it knew would reach NYC consumers.

                 14.     American Petroleum Institute

                         a.      Defendant American Petroleum Institute (“API”) is a nonprofit corporation

                 based in Washington, D.C., and is registered to do business in New York. API was founded

                 in 1919 in New York City to advocate for the interests of the petroleum industry. 7 Today,

                 API has nearly 600 members, making it the United States’ largest oil and gas trade

                 association.

                         b.      API’s mission is to promote “a strong, viable U.S. oil and natural gas

                 industry,” 8 which includes increasing consumer consumption of oil and gas. Among other

                 functions, API also coordinates among members of the petroleum industry to gather

                 information of interest to that industry and disseminate that information to its members. In

                 effect, API acts and has acted as a marketing arm for its member companies. API has

                 published advertisements in New York City, including billboards in Times Square, and

                 advertises in national media and social media that reaches NYC consumers.

                         c.      API has participated in and led several coalitions, front groups, and

                 organizations that have promoted disinformation about fossil fuel products to consumers,



         7
           API, API History, https://web.archive.org/web/20130424045926/
         http://api.org/globalitems/globalheaderpages/about-api/api-history.
         8
           API, About API, https://www.api.org/about.


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                including Partnership for a Better Energy Future, Coalition for American Jobs, Alliance

                for Energy and Economic Growth, and Alliance for Climate Strategies. These front groups

                were formed to provide misleading climate-related advocacy from an ostensibly objective

                source, when, in fact, they were financed and controlled by API.

                        d.     Member companies participate in API strategy, governance, and operation

                through membership dues and by contributing company officers and other personnel to

                API boards, committees, and task forces. ExxonMobil, Shell, and BP are core API

                members. Executives from these companies frequently serve on the API Executive

                Committee and/or as API Chairman, which is akin to serving as a corporate officer. For

                example, ExxonMobil’s CEO Darren Woods recently served as chairman of API’s board

                from 2018 to 2020 and currently remains a member of the executive committee. 9 The

                chairman and president of BP America also recently served on API’s board, as did the

                president of Shell Oil Company. 10

                                         VENUE AND JURISDICTION

                15.     This Court has jurisdiction over this action pursuant to New York Constitution,

         article VI, § 7(a), and New York Civil Practice Law and Rules §§ 301 and 302.

                16.     Pursuant to New York Civil Practice Law and Rules § 503(a), venue is proper in

         New York County because that is the county of Plaintiff’s principal place of business and because

         it is the county in which a substantial part of the events or omissions giving rise to the claim

         occurred.




         9
           Rigzone, API Names New Chairman (Jan. 23, 2020), https://www.rigzone.com/news/api_names_new_
         chairman-23-jan-2020-160869-article.
         10
            ProPublica, American Petroleum Institute, Nonprofit Explorer, https://projects.propublica.org/
         nonprofits/organizations/130433430/201903199349305980/full.


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                                                 RELEVANT LAW

                17.       The New York City Consumer Protection Law (“CPL”) bars “any deceptive or

         unconscionable trade practice in the sale . . . or in the offering for sale . . . of any consumer goods

         or services[.]” NYC Code § 20-700. Deceptive trade practices are “[a]ny false, falsely disparaging,

         or misleading oral or written statement, visual description or other representation of any kind made

         in connection with the sale . . . or in connection with the offering for sale . . . of consumer goods

         or services . . . which has the capacity, tendency or effect of deceiving or misleading consumers.”

         NYC Code § 20-701(a). Deceptive trade practices include but are not limited to “representations

         that goods or services have . . . characteristics, ingredients, uses, benefits, or quantities that they

         do not have” and “the use . . . of exaggeration, innuendo, or ambiguity as to a material fact or

         failure to state a material fact if such use deceives or tends to deceive[.]” Id. Deceptive trade

         practices are not limited to representations made directly to consumers but may include those made

         to third parties in a way that tends to deceive consumers.

                                            STATEMENT OF FACTS

         I.     Information Regarding the Role of Defendants’ Fossil Fuel Products in Causing the
                Climate Crisis Is Material to NYC Consumers’ Purchasing Decisions.

                18.       Consumer use of fossil fuel products, by driving gasoline-powered cars and other

         vehicles as well as electric and home energy choices, is a significant contributor to climate change,

         which is driving up global temperatures, increasing the frequency of deadly weather events,

         eroding coastal shorelines, and creating other unprecedented threats to people in New York City

         and elsewhere.

                19.       By misleading NYC consumers about the climate impacts of using fossil fuel

         products, even to the point of claiming that certain of their fossil fuel products may benefit the

         environment, and by failing to disclose to consumers the climate risks associated with their use of



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         those products, Defendants have deprived and are continuing to deprive consumers of information

         about the consequences of their purchasing decisions—information Defendants know influences

         both public perception of their products and consumer purchasing behavior.

                20.     Additionally, as a result of Defendants’ widespread advertising exaggerating their

         environmental credentials and investments in clean energy resources and failing to disclose the

         known climate harms from their products, many NYC consumers have been unaware of the

         magnitude of the threat posed by their use of fossil fuels, or of the relationship between their

         purchasing behavior and climate change. Defendants have sought to mislead consumers, and

         induce purchases and brand affinity, with greenwashing advertisements designed to represent

         Defendants as environmentally responsible companies developing innovative green technologies

         and products. In reality, Defendants’ investment in clean energy sources is miniscule and their

         business models continue to center on developing, producing, and selling more of the very same

         fossil fuel products driving climate change.

                21.     Knowledge of the risks associated with the routine use of fossil fuel products is

         material to NYC consumers’ decisions to purchase and use those products. Numerous consumer

         surveys back this up. In a Harris Poll conducted in December 2019 on behalf of the American

         Psychological Association, more than half of U.S. adults said climate change is the most important

         issue facing society today; 6 in 10 reported changing their habits to reduce their contribution to

         climate change, including becoming more reliant on renewable energy sources. 11

                22.     Defendants themselves recognize that consumers find the industry’s environmental

         commitments material to their purchasing decisions. For example, API represents on its website

         that “88% of Americans favor energy companies helping meet environmental challenges.”


         11
           American Psychological Association, Majority of US Adults Believe Climate Change Is Most Important
         Issue Today (Feb. 6, 2020), https://www.apa.org/news/press/releases/2020/02/climate-change.


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                           Figure 2: API “Energy for a Cleaner Environment” website 12

                23.     As in the case of cigarettes, history demonstrates that when consumers are made

         aware of the harmful effects or qualities of the products they purchase, they often choose not to

         purchase them, to reduce their purchases, or to make different purchasing decisions. This

         phenomenon holds especially true when products have been shown to harm public health or the

         environment. For example, increased consumer awareness of the role of pesticides in harming

         human health, worker health, and the environment has spurred a growing market for food grown

         organically and without the use of pesticides. With access to information about how their food is

         grown, consumers have demanded healthier choices, and the market has responded.

                24.     A NYC consumer might purchase fewer—or no—fossil fuel products if provided

         with accurate information that fossil fuel use was a primary driver of climate change and the

         resultant dangers to the environment and people. NYC consumers might opt to use the City’s vast

         public transit system, bike, or walk; avoid or combine car travel trips; carpool; switch to more fuel-

         efficient vehicles, hybrid vehicles, or electric vehicles; use a car-sharing service; purchase electric

         instead of natural gas appliances; or choose any combination of these.


         12
           API, “Energy for a Cleaner Environment,” https://www.api.org/news-policy-and-issues/state-of-
         american-energy/soae-2019-cleaner.


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                 25.    Informed consumers contribute toward solving environmental problems by

         supporting companies that they perceive to be developing “green” or more environmentally

         friendly products. Defendants take advantage of NYC consumers and prevent them from making

         informed choices by falsely buying consumer goodwill, and by misrepresenting their investments

         in renewable energy or playing up environmental aspects of their products without disclosing that

         their primary business—fossil fuels—is also the primary driver of climate change.

         II.     ExxonMobil, Shell, and BP Mislead NYC Consumers by Misrepresenting the
                 Climate Impacts of Specific Fossil Fuel Products.

                 26.    ExxonMobil, Shell, and BP misrepresent the environmental benefits of various

         fossil fuel products sold at their gasoline service stations in the City, knowing that NYC consumers

         want their purchases to help—not hinder—the fight against climate change. In a strategic move to

         protect and expand their share of the energy market, ExxonMobil, Shell, and BP promote these

         gasoline products as environmentally beneficial and “emissions-reducing.” Yet they conceal from

         consumers the material fact that using these products still significantly increases greenhouse gas

         emissions. And they never disclose the material fact that fossil fuels—“emissions-reducing” or

         otherwise—are the primary cause of climate change.

                 27.    This marketing strategy is reminiscent of the tobacco industry’s advertising

         campaigns to conceal and downplay the deadly effects of cigarettes. Just as tobacco companies

         promoted “low-tar” and “light” cigarettes as healthy alternatives to quitting smoking, so too are

         ExxonMobil, Shell, and BP promoting “emissions-reducing” gasoline products as climate-friendly

         alternatives to quitting fossil fuels. And just as tobacco companies failed to disclose that smoking

         “low-tar” and “light” cigarettes is deadly to human health, 13 so too are ExxonMobil, Shell, and BP


         13
           National Cancer Institute, “Light” Cigarettes and Cancer Risk (Oct. 28, 2010), https://www.cancer.gov/
         about-cancer/causes-prevention/risk/tobacco/light-cigarettes-fact-sheet (“The bottom line is that light
         cigarettes do not reduce the health risks of smoking.”).


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         hiding that using their “cleaner” and “emissions-reducing” gasoline products is harmful to the

         climate, the planet, and its people.

                28.     Indeed, ExxonMobil, Shell, and BP even use the same kind of scientific jargon that

         Big Tobacco deployed to give their misleading statements the imprimatur of scientific credibility.

         Advertising for Decade brand cigarettes, for example, referenced a “patented tobacco flavorant,”

         “modern laser technology,” “exclusive research design,” and the “total system” of cigarette

         manufacturing developed by Decade over a ten-year period to deliver a “low tar cigarette.” In a

         similar vein, for example, Exxon’s advertisements of its Synergy™ products reference

         “meticulous[] engineer[ing]” and “rigorously test[ing] in the lab.” 14

                29.     As with the tobacco companies’ use of scientific terms to promote “light”

         cigarettes, ExxonMobil, Shell, and BP’s claims that their purportedly high-tech new fossil fuel

         products help consumers reduce emissions renders their promotional materials misleading,

         because they seek to convey—under the guise of scientific rigor—an overall message that is false,

         and contradicted by ExxonMobil, Shell, and BP’s own knowledge regarding the dangers of fossil

         fuel use in causing climate change.

                30.     Below is a selection of fossil fuel products that ExxonMobil, Shell, and BP

         advertise to NYC consumers as environmentally beneficial, while simultaneously omitting any

         mention of the products’ role in aggravating climate change. These advertisements are

         representative of other advertisements and public communications, all of which reinforce

         ExxonMobil, Shell, and BP’s strategies to influence consumer demand for their products by

         misleading consumers that their fossil fuel products will help consumers reduce emissions.




         14
           ExxonMobil, “Fuels,” https://www.exxon.com/en/fuels; ExxonMobil, “New Synergy Diesel
         Efficient™ Fuel,” https://www.exxon.com/en/diesel-fuel.


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                31.     ExxonMobil Synergy™ Fuels

                a.      In July 2016, ExxonMobil began to supply and market its Synergy™ fuel, including

         at Exxon- and Mobil-branded gas stations in New York City.

                b.      All gasoline sold at ExxonMobil-branded stations in the New York City has

         received the Synergy additive, and therefore constitutes Exxon Synergy™ fuel.

                c.      In July 2019, ExxonMobil began offering “Synergy™ Supreme+,” targeted to

         purchasers of so-called “premium” gasoline, including NYC consumers. The messaging for this

         product states that Synergy™ Supreme+ is “Our Best Fuel Ever,” and “2X cleaner for better gas

         mileage.” According to ExxonMobil, Synergy Supreme+ will enhance vehicle fuel economy in

         newer engines designed to meet tougher vehicle emissions standards.

                d.      Similarly, ExxonMobil advertises its Synergy Diesel Efficient™ fuel as a

         “breakthrough formulation” that helps consumers “[r]educe emissions and burn cleaner,” and “was

         created to let you drive cleaner, smarter and longer.” 15

                e.      As shown in the screenshot below, ExxonMobil’s website advertises that

         Synergy™ gasolines are “engineered for” “[l]ower emissions”—but then explains in smaller print

         that it “[h]elps remove deposits, which can lead to fewer emissions.” 16




         15
            ExxonMobil, “Synergy Diesel Efficient™ fuel for passenger vehicles,” https://www.exxon.com/en/
         synergy-diesel-efficient-passenger.
         16
            ExxonMobil Fuels, “Synergy Unleaded Gasoline,” https://www.exxon.com/en/unleaded-gasoline.


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                                 Figure 3: ExxonMobil Fuels website screenshot

                f.     Additional promotional materials for Synergy™ gasolines appearing on

         ExxonMobil’s website features a photograph of a mountain sunrise with trees in the foreground

         and text expressly suggesting that its Synergy™ products help reduce greenhouse gas emissions

         (emphasis added):

                       Environmental performance
                       Conscientious practices. Rigorous standards.
                       Continually improving environmental performance while pursuing
                       reliable and affordable energy
                           Ten years ago, we introduced Protect Tomorrow. Today. – a set of
                           expectations that serves as the foundation for our environmental
                           performance. Guided by a scientific understanding of the environmental
                           impacts and related risks of our operations, these rigorous standards and
                           good practices have become an integral part of our day-to-day
                           operations. . . .
                           The following are the three major areas in which we’ve concentrated
                           our efforts to reduce environmental impacts. . . .
                       Improve efficiency in consumer use of fuels
                           We’re continually innovating to develop products that enable customers
                           to reduce their energy use and CO2 emissions. For example, we have:
                           ....


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                           x   Engineered Fuel Technology Synergy™ fuels to help improve fuel
                               economy and reduce CO2 emissions . . . .
         Below is a screenshot of the portion of the ExxonMobil webpage featuring this promotion:




                 Figure 4: ExxonMobil Fuels Environmental Performance webpage screenshot 17

                g.     ExxonMobil’s 2021 Energy and Carbon Summary sets forth “four pillars of the

         Company’s climate strategy” in support of its “commit[ment] to supporting efforts to mitigate the

         risk of climate change.” 18 One of those pillars is “providing products to help customers reduce



         17
           ExxonMobil, “Environmental performance,” https://www.exxon.com/en/environment.
         18
           ExxonMobil, 2021 Energy & Carbon Summary (Jan. 2021), at 3, https://corporate.exxonmobil.com/-
         /media/Global/Files/energy-and-carbon-summary/Energy-and-Carbon-Summary.pdf. In previous years
         ExxonMobil has released similar Energy & Carbon Summary reports with similar deceptive statements
         about ExxonMobil fuels helping to reduce greenhouse gas emissions.


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         their emissions,” and ExxonMobil specifically represents that its Synergy™ fossil fuel product

         line reduces greenhouse gas emissions:

                    Premium fuels such as Synergy™ gasoline and diesel also help consumers improve
                    gas mileage. By improving engine efficiency and fuel economy, these products can
                    help reduce greenhouse gas emissions compared to conventional lubricants and
                    fuels. ExxonMobil is progressing several multibillion-dollar refinery expansion
                    projects to supply the growing demand for these advanced fuel products. 19




                               Figure 5: ExxonMobil 2021 Energy & Carbon Summary 20

                    h.     In its advertising to NYC consumers, including at City gas and service stations,

         ExxonMobil emphasizes positive environmental qualities, e.g., the “cleanliness,” fuel efficiency

         benefits, and “lower emissions,” of its Synergy™ fossil fuel products, which are misleading

         without mention of the key role these fossil fuels play in causing climate change.

                    32.    Shell Nitrogen Enriched Cleaning System and Shell V-Power NITRO+
                           Premium

                    a.     All grades of Shell gasoline sold in New York City have the Shell Nitrogen

         Enriched Cleaning System, and Shell introduced a line for its premium-grade gasoline called V-

         Power Nitro+ Premium.




         19
              Id. at 31.
         20
              Id. at 4.


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                b.      Shell advertises on its website that these fuels “produce[] fewer emissions” 21 and

         that not using them can lead to “higher emissions.” 22

                c.      Such representations are misleading because they emphasize the fuels’ supposedly

         environmentally beneficial qualities without disclosing the key role these fossil fuels play in

         causing climate change.

                33.     BP Invigorate Fuels

                a.      All grades of BP gasoline sold in the New York City have Invigorate, an additive

         that BP describes on its website as better than “ordinary fuels” that have problems like “increased

         emissions.”

                b.      BP’s website advertises its fuel selection as “including a growing number of lower-

         carbon and carbon-neutral products.” 23

                c.      Such representations are misleading because they emphasize the fuels’ supposedly

         environmentally beneficial qualities without disclosing the key role these fossil fuels play in

         causing climate change.

         III.   ExxonMobil, Shell, and BP Misleadingly Greenwash Their Corporate Brands by
                Exaggerating Their Investments in Clean Energy Resources and by Inflating the
                Climate Benefits of Their Natural Gas Products and Investments in “Alternative
                Energy Sources.”

                34.     Defendants know that today’s consumers are more likely to buy from companies

         that are perceived to be environmental stewards. In response to growing public concern over

         climate change, ExxonMobil, Shell, and BP have worked tirelessly to greenwash their corporate



         21
            Shell, “Nitrogen Enriched Gasolines,” https://www.shell.us/motorist/shell-fuels/shell-nitrogen-
         enriched-gasolines.html.
         22
            Shell, “Shell V-Power NiTRO+ Premium Gasoline,” https://www.shell.us/motorist/shell-fuels/shell-v-
         power-nitro-plus-premium-gasoline.html.
         23
            BP, “Fuels and lubricants,” https://www.bp.com/en_us/united-states/home/who-we-are/what-we-
         do/fuels-and-lubricants.html.


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         brands and reputations, going to great lengths to portray themselves as leaders in the fight against

         climate change, even though their products are the primary driver in causing it.

                35.     These misleading greenwashing campaigns primarily take two forms. First, in

         advertisements directed at the NYC consumers, ExxonMobil, Shell, and BP exaggerate their

         overall investments in non-fossil fuel energy resources. These advertisements create the

         impression that these investments are substantial, and that ExxonMobil, Shell, and BP are

         diligently working to reduce the carbon footprint of their business models. But in fact,

         ExxonMobil, Shell, and BP each spend negligible amounts on clean energy resources, and they

         continue to ramp up fossil fuel production and invest in new fossil fuel development.

                36.     Second, ExxonMobil, Shell, and BP misrepresent the climate benefits associated

         with their investments in what they call “alternative energy sources.” For example, they play up

         their natural gas products as evidence of their supposed leadership in bringing about a clean energy

         future. But these advertisements fail to disclose the lifecycle emissions of methane, which is a

         highly potent greenhouse gas, with more than 80 times the climate change impact compared to

         CO2 over the short term, and thus such advertisements fail to acknowledge that natural gas is a

         major contributor to climate change. Likewise, ExxonMobil and Shell advertise their research on

         fuel sources such as algae biofuels and hydrogen fuel cells, claiming that these energy sources are

         clean, cheap, and capable of mitigating climate change. Defendants conceal, however, that these

         fuels release significant amounts of greenhouse gases and that they are currently not scalable for

         mass production. The prominence of these “alternative energy sources” in their promotions is

         likely to mislead NYC consumers into believing ExxonMobil, Shell, and BP are substantially

         shifting away from what in reality remains their primary products: fossil fuels.

                37.     Through these various greenwashing campaigns, ExxonMobil, Shell, and BP seek




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         to divert attention away from the existential threats posed by their core business of selling fossil

         fuels, and instead reposition themselves in the eyes of consumers as diversified energy companies

         that are serious about tackling climate change. In doing so, ExxonMobil, Shell, and BP are

         deploying deceptive marketing tactics in a transparent bid to capture the large and growing

         segment of consumers—including NYC consumers—who care about the planet and who want to

         make purchases that contribute to the solution to, rather than the problem of, climate change. They

         recognize that their corporate image matters to their bottom line, and so they are spending millions

         of dollars trying to cut greenhouse gas emissions from their brand but not their business. Indeed,

         one recent report estimates that, in 2019 alone, ExxonMobil spent $56 million, Shell spent $55

         million, and BP $30 million on “climate branding” initiatives—efforts to underscore the

         company’s commitment to clean energy and climate change mitigation, position the company as

         a climate expert, and conceal the central role of fossil fuels in causing climate change. 24

                 38.     Defendants were also on notice that these types of greenwashing campaigns are

         deceptive and misleading. In 2017, Shell and ExxonMobil were censured for such misleading

         advertising by the Dutch Advertising Code Authority for describing natural gas as “the cleanest

         fossil fuel.” The agency’s ruling stated that this description was misleading because it “suggested

         that fossil fuels can be clean in that they do not cause environmental damage. It is firm . . . that

         that suggestion is not correct.” 25

                 39.     Defendants have nevertheless continued to engage in similarly deceptive

         advertising practices in the City. As detailed below and in the attached Appendix, such deceptive



         24
            InfluenceMap, Big Oil’s Real Agenda on Climate Change 12 (March 2019), https://influencemap.org/
         report/How-Big-Oil-Continues-to-Oppose-the-Paris-Agreement-38212275958aa21196dae3b76220bddc.
         25
           Arthur Nelsen, Shell and Exxon Face Censure Over Claim Gas Was ‘Cleanest Fossil Fuel’, THE
         GUARDIAN (Aug. 14, 2017), https://www.theguardian.com/environment/2017/aug/14/shell-and-exxon-
         face-censure-over-claim-gas-was-cleanest-fossil-fuel.


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         greenwashing advertisements are squarely prohibited by the CPL, and they cannot be allowed to

         continue.

              A. Misrepresentations About Investments in Clean Energy Resources

                 40.      Although clean energy resources play a negligible part in ExxonMobil, Shell, and

         BP’s businesses, they are front and center when it comes to their advertising. To create brand

         loyalty and to enlarge their customer base, ExxonMobil, Shell, and BP are bombarding NYC

         consumers with advertisements that give the false impression that renewable and low-carbon

         energy is an extensive portion of their business. Yet in none of their consumer messaging do they

         disclose that those investments are negligible in comparison to the billions of dollars that they

         spend (and make) annually on fossil fuels.

                 41.      ExxonMobil, Shell, and BP invest minimally in clean energy resources. Between

         2010 and 2018, for example, ExxonMobil expended just 0.2% of total capital spending on low

         carbon energy sources; Shell spent 1.2%; and BP, 2.3%. 26 The actual energy they produced from

         clean energy resources compared to fossil fuels during those years is smaller still.

                 42.      ExxonMobil, Shell, and BP show little sign of increasing those shares in the near

         future. To the contrary, they have been doubling down on fossil fuel extraction, production, and

         sales. ExxonMobil, Shell, and BP have adjusted their projections somewhat in response to the

         COVID-19 pandemic, but they have not wavered in their commitment to maintaining fossil fuels

         as the core driver of their business model during the next decade, the crucial window of time in

         which the world must drastically slash greenhouse gas emissions in order to avoid the most

         catastrophic effects of the climate crisis.

                       a. Indeed, according to a recent report published in 2019 by a reputable oil and gas


         26
           Anjli Raval & Leslie Hook, Oil and Gas Advertising Spree Signals Industry’s Dilemma, FINANCIAL
         TIMES (Mar. 6, 2019), https://www.ft.com/content/5ab7edb2-3366-11e9-bd3a-8b2a211d90d5.


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                          consulting firm, ExxonMobil is projected to increase oil production by more than

                          35% between 2018 and 2030—a sharper rise than over the previous 12 years. 27 In

                          October 2020, leaked ExxonMobil internal documents show that, due to its

                          expanded fossil fuel production growth strategy, the company was projecting a 17%

                          increase in greenhouse gas emissions by 2025 (not including emissions from

                          consumer use of its products). 28 As one top ExxonMobil executive put it succinctly

                          in September 2020: “We believe in the fundamentals of the oil and gas

                          business . . . . We believe societies and economies will continue to need oil and gas.

                          In the upcoming years, the alternatives really can only fulfill a small amount, or a

                          relatively modest amount, of the overall demand that exists” (emphasis added). 29

                       b. Shell recently forecast to increase output by 38% by 2030, expanding its crude oil

                          production by more than half and its gas production by over a quarter. 30

                       c. And BP is predicted to increase production of oil and gas by 20% by 2030. 31

                 43.      ExxonMobil, Shell, and BP’s advertising campaigns therefore misleadingly

         “greenwash” their businesses to make them appear substantially more in line with consumers’

         preferences for forms of energy that do not contribute to climate change or other environmental




         27
            Jonathan Watts et al., Oil Firms to Pour Extra 7m Barrels Per Day Into Markets, Data Shows, THE
         GUARDIAN (Oct. 10, 2019), https://www.theguardian.com/environment/2019/oct/10/oil-firms-barrels-
         markets.
         28
             Kevin Crowley & Ashkat Rathi, Exxon’s Plan for Surging Carbon Emissions Revealed in Leaked
         Documents, Internal Projections From One of World’s Largest Oil Producers Show an Increase in Its
         Enormous Contribution to Global Warming, BLOOMBERG (Oct. 5, 2020), https://www.bloomberg.com/
         news/articles/2020-10-05/exxon-carbon-emissions-and-climate-leaked-plans-reveal-rising-co2-output.
         29
            S&P Global, ExxonMobil Focused on Core Oil and Gas as Renewable Returns Too Weak: Official, (Sept.
         30,     2020),      https://www.spglobal.com/platts/en/market-insights/latest-news/electric-power/093020-
         exxonmobil-focused-on-core-oil-and-gas-as-renewable-returns-too-weak-official.
         30
            Watts et al., supra note 26.
         31
            Id.


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         harms, all the while masking their core business in fossil fuels. The examples below illustrate this

         deceptive conduct.

                44.     ExxonMobil touts its investments in clean energy resources while failing to

         disclose to consumers that those investments represent a fringe part of its fossil fuel-focused

         business.

                45.     For example, in one New York Times advertisement titled “The Future of Energy?

         It May Come From Where You Least Expect: How scientists are tapping algae and plant waste to

         fuel a sustainable energy future,” ExxonMobil claims that the company is “working to decrease

         our overall carbon footprint,” markets itself as an innovator in the development of alternative fuels,

         such as fuel from algae and from farm waste, and falsely represents itself as an environmentally

         responsible company, concluding with the statement: “A Greener Energy Future. Literally.” 32 In

         another New York Times advertisement titled “From Farm Waste to Fuel Tank,” ExxonMobil

         declares that its scientists are “exploring how to . . . create biofuel on a vast scale,” adding that

         biofuels have “the power to make a big difference” because biomass (one of the primary

         ingredients in biofuels) is “cheap and abundant.” 33

                46.     None of ExxonMobil’s consumer-facing advertisements, however, disclose that its

         current investments in biofuels research and production are dwarfed by its fossil-fuel operations.

         (In 2016, for example, ExxonMobil invested less than 1% of its $ 198 billion in revenue in biofuels

         research). And none of them disclose that Exxon’s biofuel production will continue to be dwarfed

         by its fossil fuel production. Indeed, one 2019 analysis shows that ExxonMobil’s advertised goal



         32
            The Future of Energy? It May Come From Where You Least Expect (ExxonMobil Paid Post), N.Y. TIMES,
         https://www.nytimes.com/paidpost/exxonmobil/the-future-of-energy-it-may-come-from-where-you-least-
         expect.html.
         33
            From Farm Waste to Fuel (ExxonMobil Paid Post), N.Y. TIMES, https://www.nytimes.com/paidpost/
         exxonmobil/from-farm-waste-to-fuel-tank.html#100000006080624.


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         of producing 10,000 barrels of biofuel per day by 2025 would equate to only 0.2% of its current

         refinery capacity—what the report called “a rounding error.” 34 By contrast, Exxon’s oil production

         is projected to increase by more than 35% in the coming years, meaning that any marginal emission

         reductions achieved through its proposed biofuel efforts would be offset by massive emission

         increases from its oil operations. 35

                 47.     Similarly, in countless social media advertisements posted on Instagram, Twitter,

         Facebook, and LinkedIn and viewed by hundreds of thousands of consumers (including NYC

         consumers), ExxonMobil extolls its plans to reduce greenhouse gas emissions, boasts of its

         investments and research in clean energy resources, and characterizes itself as a corporate leader

         in the fight against climate change.

                 48.     To take just few recent examples, in a LinkedIn post from March 2021,

         ExxonMobil wrote: “We recently announced a plan to further reduce greenhouse gas emissions in

         our global operations by 2025, while aiming for industry-leading GHG performance by 2030. We

         are positioning for a lower-carbon-energy future and this plan represents some of the most

         aggressive reductions in the industry.” The accompanying image with a blue sky and green grass

         continued: “our 2025 plans are expected to reduce absolute greenhouse gas emissions by an

         estimated ~30%,” and in smaller text, “for the company’s upstream business.” 36




         34
               INFLUENCEMAP, Big Oil’s Real Agenda on Climate Change (Mar. 2019),
         https://influencemap.org/report/How-Big-Oil-Continues-to-Oppose-the-Paris-Agreement-
         38212275958aa21196dae3b76220bddc.
         35
            Watts et al., supra note 25.
         36
            ExxonMobil, LinkedIn (March 2021), https://www.linkedin.com/posts/exxonmobil_energy-carbon-
         summary-activity-6769727442681655296-CoDp.


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                                        Figure 6: ExxonMobil March 2021 LinkedIn post

                   49.     In a January 2021 tweet, ExxonMobil stated: “We support the ambition to achieve

         net-zero emissions by 2050 and the goals of the Paris Agreement. Our newly released Energy &

         Carbon Summary outlines efforts to develop energy solutions that power modern life and progress

         toward a lower-carbon future.” 37

                   50.     In a November 2020 Instagram post, ExxonMobil boasted that, “over the last 40

         years, we have cumulatively captured the most CO2 of any company.” The ad omitted that during

         that same period of time, ExxonMobil’s operations and the use of its fossil fuel products have been

         one of the single largest sources of greenhouse gas emissions emitted into the earth’s atmosphere. 38

         It also failed to disclose that ExxonMobil captures only about 2 percent of its annual emissions,

         and that the company’s investments in carbon capture and sequestration are a drop in the bucket




         37
              @exxonmobil, Twitter (Jan. 5, 2021), https://twitter.com/exxonmobil/status/1346526004223877126.
         38
              @exxonmobil, Instagram (Nov. 24, 2020), https://www.instagram.com/p/CH_JQugBNjc.


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         when compared to its current and planned spending on fossil fuel exploration, extraction, and

         development. 39




                                     Figure 7: ExxonMobil March 2021 Instagram post

                 51.     And as of April 12, 2021, the description of ExxonMobil’s profile page on

         Instagram including the following subtitle:




                                         Figure 8: ExxonMobil Instagram Bio




         39
           See, e.g., Greenwashing Files: ExxonMobil, ClientEarth, https://www.clientearth.org/the-
         greenwashing-files/exxonmobil.


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                52.     None of ExxonMobil’s social media advertisements tell consumers that its primary

         business remains the extraction, production, and sale of planet-warming fossil fuels. None of them

         disclose the company’s plans to increase the sale of fossil fuels in the next decade. And none of

         them reveal that Exxon’s clean energy portfolio continues to constitute a negligible part of its

         business model. As a result, these and countless other ExxonMobil advertisements leave

         consumers with the false impression that the company is taking ambitious steps towards cutting

         greenhouse gas emissions, shifting its investments towards clean energy, and researching next

         generation solutions to climate change.

                53.     Meanwhile, Shell has mastered the art of greenwashing their corporate brand with

         misleading advertisements designed to look like newspaper articles in the New York Times and

         Washington Post, rather than paid ads. Consider, for instance, Shell’s interactive tutorial titled

         “The Making of Sustainable Mobility.” 40 In it, Shell outlines the challenges of reducing

         greenhouse gas emissions from the transportation sector. It then situates itself at the center of the

         solution. “Thankfully,” the ad states, “an array of scientists, innovators and businesses are hard at

         work creating more efficient ways of moving around.” And “Shell,” the ad continues in the next

         sentence, “is one of them.” The advertisement proceeds to extoll Shell’s investments in so-called

         “lower-carbon transport fuels,” focusing on its projects in liquified natural gas, biofuels, hydrogen,

         and charging stations for electric vehicles.




         40
           The Making of Sustainable Mobility (Content from Shell), WASH. POST,
         https://www.washingtonpost.com/brand-studio/shell/the-making-of-sustainable-mobility.


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                        Figure 9: Shell The Making of Sustainable Mobility Advertisement

                54.     As displayed in the figure below, the ad ends by portraying Shell’s leadership in

         “setting the course” to develop the “cleaner fuel alternatives” that “[t]he world will need.”




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                        Figure 10: Shell The Making of Sustainable Mobility Advertisement

                55.     Shell never discloses, however, that natural gas is a leading cause of climate

         change; that its investments in clean energy resources are negligible when compared to its

         spending on fossil fuels; or that it plans to continue to ramp up the production and sale of fossil

         fuels, including those used in transportation. As a result, NYC consumers are left with the

         misleading impression that Shell’s business is significantly involved in developing and producing

         clean energy resources.

                56.     Another advertisement from Shell in the New York Times describes “a path towards

         net-zero emissions,” stating that if “the world’s nations are going to meet the aims of the Paris

         Agreement, they’ll have to completely transform the way energy is used—and produced—across

         the global economy.” Despite this and other public-facing endorsements of Shell’s role in an


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         overhaul of the energy system and the possibility of addressing climate change, a disclaimer in

         Shell’s recent public “Climate Target” report reveals their misleading and illusory nature:

                 As of February 11, 2021, Shell’s operating plans and budgets do not reflect Shell’s
                 Net-Zero Emissions targets. Shell’s aim is that, in the future, its operating plans and
                 budgets will change to reflect this movement towards its new Net-Zero Emissions
                 target. However, these plans and budgets need to be in step with the movement
                 towards a Net Zero Emissions economy within society and among Shell’s
                 customers. 41

         In fact, Shell’s actual “plans and budgets” call for it to expand its liquefied-natural gas production

         capacity throughout the next decade. 42

                 57.     As for BP, in 2019, the company launched an advertising campaign called

         “Possibilities Everywhere.” The advertisements were targeted at NYC consumers, appearing in

         media targeting and circulated to NYC consumers, including, for example, the New York City-

         based Wall Street Journal, as well as Twitter, CNN, the Financial Times, and The Economist, and

         POLITICO. 43

                 58.     One Possibilities Everywhere advertisement, called “Better fuels to power your

         busy life,” stated:

                  We [] want—and need—[ ] energy to be kinder to the planet. At BP, we’re working
                  to make our energy cleaner and better. […] At BP, we’re leaving no stone unturned
                  to provide [the] extra energy the world needs while finding new ways to produce
                  and deliver it with fewer emissions. […] We’re bringing solar and wind energy to
                  homes from the US to India. We’re boosting supplies of cleaner-burning natural




         41
            Shell, Our Climate Target, 2021, https://web.archive.org/web/20210307100028/
         https://www.shell.com/energy-and-innovation/the-energy-future/our-climate-
         target.html#iframe=L3dlYi8yMDIxMDMwNzEyMjgwMm9lXy9odHRwczovL2ZvdXJsZWFmZGlnaXR
         hbC5zaGVsbC5jb20vd2ViYXBwcy9jbGltYXRlX2FtYml0aW9uLw.
         42
            Jillian Ambrose, Shell to expand business despite pledge to speed up net zero carbon drive, THE
         GUARDIAN (Feb. 11, 2021), https://www.theguardian.com/business/2021/feb/11/shell-grow-gas-business-
         energy-net-zero-carbon.
         43
               Campaign US, BP Launches Biggest Campaign in a Decade, January 21, 2019,
         https://www.campaignlive.com/article/bp-launches-biggest-global-campaign-decade/1523391.


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                  gas. […] More energy with fewer emissions? We see possibilities everywhere to
                  help the world keep advancing. 44

         The accompanying video showed a busy household while a voiceover said, “We all want more

         energy, but with less carbon footprint. That’s why at BP we’re working to make energy that’s

         cleaner and better.” 45

                 59.     In another advertisement called “Blade runners,” BP boasts that it is “one of the

         major wind energy businesses in the US.” 46

                 60.     In yet another promotion titled “Rise and shine,” BP touts its investments in solar.

         “Our economics gurus believe [solar power] could account for 10% of the world’s power by 2040,”

         it states, and “to help make that a reality, we’ve teamed up with Europe’s largest solar company,

         [Lightsource BP].” 47 The ad highlights Lightsource BP’s 6.3 MW floating solar power station near

         London and Lightsource BP’s deal with Budweiser to supply renewable energy to its U.K.

         breweries. “Projects like these are advancing the possibilities of solar,” BP declares, “and even

         rainy days can’t dampen the excitement for this fast-growing energy source. That’s because,

         whatever the weather, our cleaner-burning natural gas can play a supporting role to still keep your

         kettle ready for action.”

                 61.     Together and individually, these advertisements create the false and misleading

         impression that BP is a leading developer of wind, solar, and other clean energy resources.




         44
            BP, Better fuels to power your busy life, https://web.archive.org/web/20191130155554/
         https://www.bp.com/en/global/corporate/who-we-are/possibilities-everywhere/energy-for-busy-
         lives.html.
         45
            Id.
         46
            BP, Blade runners, https://web.archive.org/web/20191130192545/https://www.bp.com/
         en/global/corporate/who-we-are/possibilities-everywhere/wind-and-natural-gas.html.
         47
            BP, Rise and Shine,
         https://web.archive.org/web/20190329004210/https://www.bp.com/en/global/corporate/who-we-
         are/possibilities-everywhere/solar-and-natural-gas.html.


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         Between 2010 and 2018, for example, BP expended just 2.3% of its total capital on clean energy

         resources. 48

                     a. BP’s investments in wind energy are negligible, both when compared to its own

                         investments in fossil fuels and to other companies’ investments in wind resources.

                         Indeed, as summarized in the chart below, when NYC consumers were viewing

                         these advertisements, BP owned only approximately 1 gigawatt (“GW”) of wind

                         capacity, less than 5% of the wind capacity owned by GE, Siemens, and Vestas (39

                         GW, 26 GW, and 23 GW, respectively), 49 and a mere 1% of total installed wind

                         capacity in the United States (approximately 100 GW). 50




                                 Figure 11: U.S. Wind Energy Capacity 2018–2019


         48
            Raval & Hook, supra note 25.
         49
            For BP’s wind capacity, see Press Release, BP restructures U.S. Wind Energy Business for growth (Dec.
         21, 2018), https://www.bp.com/en/global/corporate/news-and-insights/press-releases/bp-restructures-us-
         wind-energy-business-for-growth.html. For wind capacity of GE, Siemens, and Vestas, see Greg
         Zimmerman, Who’s Powering the Wind Industry in 2019? Top 10 Wind Power Companies, ENERGY
         ACUITY (Jan. 7, 2019), https://energyacuity.com/blog/top-wind-power-companies.
         50
            See Elizabeth Ingram, U.S. wind capacity grew 8% in 2019, AWEA says, RENEWABLE ENERGY WORLD
         (Apr. 10, 2019), https://www.renewableenergyworld.com/articles/2019/04/u-s-wind-capacity-grew-8-in-
         2018-awea-says.html.


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                      b. The same is true for BP’s activities in solar energy, which consist predominantly

                         of its purchase of a minority interest in the solar company Lightsource (rebranded

                         Lightsource BP). 51 The purchase price for this interest represents only 0.4% of BP’s

                         annual capital expenditure of approximately $16 billion, nearly all of which focuses

                         on fossil fuels. 52 These investments are a far cry from BP’s claim that it was

                         “leaving no stone unturned” to find “new” ways to produce lower-emissions

                         energy 53 and that it was playing a “leading role” in “a rapid transition to a low

                         carbon future.” 54 Following a complaint filed against BP at the Organisation for

                         Economic Co-operation and Development, BP announced that it would “stop

                         corporate reputation advertising” and pulled down the Possibilities Everywhere

                         campaign worldwide.

                62.      These advertisements are illustrative of Defendants’ efforts to greenwash their

         corporate image by exaggerating their businesses’ involvement in the clean energy sector. They

         are not exhaustive, however. The Appendix identifies additional deceptive advertisements of this

         kind, and there are many more blitzing NYC consumers on a daily basis through newspapers,

         social media, and other advertising platforms. This deceptive conduct violates the CPL, and it must

         be stopped.




         51
             BP ANNUAL REPORT AND FORM 20-F 42 (2017), https://www.bp.com/content/dam/bp/business-
         sites/en/global/corporate/pdfs/investors/bp-annual-report-and-form-20f-2017.pdf.
         52
            See BP to maintain reduced capital spending through 2021, OIL & GAS JOURNAL (Feb. 28, 2017),
         https://www.ogj.com/general-interest/article/17290398/bp-to-maintain-reduced-capital-spending-through-
         2021.
         53
            @bp_plc, Twitter (March 1, 2019), https://twitter.com/bp_plc/status/1101522924245151744.
         54
            @bp_plc, Twitter (Aug. 18, 2019), https://twitter.com/bp_plc/status/1163077936452259840?lang=en.


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              B. ExxonMobil, Shell, and BP’s Misrepresentations About the Climate Benefits of
                 Natural Gas, Biofuels, and “Alternative Energy Resources”

                 63.      ExxonMobil, Shell, and BP also misrepresent the climate benefits from their natural

         gas products and their so-called “alternative energy portfolio,” which they typically define to

         include investments in liquified natural gas (LNG), hydrogen fuel cells, and biofuels.

                 64.      Natural gas is a significant driver of climate change because the extraction,

         transportation, and combustion of this fossil fuel releases large quantities of greenhouse gas

         emissions—with particularly significant extraction and transportation emissions of methane, a

         greenhouse gas that is more than 80 times more potent than carbon dioxane at trapping heat in the

         atmosphere in the near term, and that therefore accelerates climate disruption at a faster rate than

         carbon dioxide. In fact, reducing methane emissions is among the most immediate and highest

         impact actions to be taken to combat climate change.

                 65.      In advertisements directed at NYC consumers, however, Defendants omit those

         material facts about the lifecycle emissions of natural gas. They misleadingly portray gas as a

         “cleaner burning” or “sustainable” source of low-emission energy that is critical to combatting

         climate change. 55 For example:

                       a. In Shell’s “In for the Long Haul” advertisement, for instance, the company claimed

                          that expanding LNG would “help prevent climate change from advancing,”

                          including by fueling ships “with low to no emissions.” 56 And in Shell’s “The

                          Making of Sustainable Mobility” advertisement, Shell misleadingly associates



         55
                See,     e.g., The     Mobility     Quandary       (Content    from      Shell),    WASH.     POST,
         https://www.washingtonpost.com/brand-studio/shell/the-mobility-quandary (“Another critical component
         of a sustainable energy mix in transportation is further investment in natural gas, a cleaner-burning fossil
         fuel . . . .”).
         56
            Moving Forward: A Path to Net-Zero Emissions by 2070 (Content from Shell), N.Y. TIMES,
         https://www.nytimes.com/paidpost/shell/ul/moving-forward-a-path-to-net-zero-emissions-by-2070.html.


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                         LNG with non-fossil fuel energy by calling it “part of a mosaic of alternative energy

                         sources.” 57

                      b. ExxonMobil partners natural gas with renewables in its advertisements and social

                         media posts, comparing them to “peanut butter and jelly” 58 or “chips and

                         guacamole.” ExxonMobil boasted in these ads: “When it comes to cleaner energy,

                         some things just work better together. We’re leaders in natural gas which is reliable

                         and abundant and supports renewable energy. Combined they’re the perfect pair for

                         a cleaner energy future.” 59

                      c. And in a similar vein, BP has consistently portrayed its “cleaner-burning” natural

                         gas products as necessary to the scale up of renewable energy sources, telling

                         consumers, for instance, that wind power without natural gas would be like “fish

                         without chips, peanut butter without jelly, and bread without butter.” 60

                66.      Yet LNG produces more emissions than natural gas due to the liquefication process;

         only a small fraction of natural gas products is paired with the deployment of wind, solar, or other

         clean energy sources; and gas is not necessary to scaling up clean energy resources, which can be

         accomplished, instead, with battery storage or other zero-emission technologies. By focusing only

         on consumer use (“cleaner burning”) and ignoring natural gas’s significant greenhouse gas

         emissions during production and transportation, these advertisements (as well as countless others

         like them) tell a half-truth and create the misleading impression that expanding the production of




         57
            Shell, The Making of Sustainable Mobility, supra note 37.
         58
              ExxonMobil, Peanut Butter & Jelly, Natural Gas & Renewables (Aug. 26,                    2020),
         https://www.youtube.com/watch?v=6K9f2uy2JzU.
         59
            Facebook Ad Library, https://www.facebook.com/ads/library/?id=452326435699710.
         60
            See BP, Blade runners, https://web.archive.org/web/20191130192545/https://www.bp.com/
         en/global/corporate/who-we-are/possibilities-everywhere/wind-and-natural-gas.html.


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         natural gas is a win-win investment in the fight against climate change, with little to no downsides

         for the planet or its people.

                   67.     Defendants have advanced a similar tactic when advertising their investments in

         biofuels, hydrogen fuels, and other so-called “alternative energy resources.” In ads directed to

         NYC consumers, Defendants misleadingly downplay the emissions produced by these resources

         in order to greenwash their corporate image, distinguish themselves from competitors by

         exaggerating their environmental credentials, build brand loyalty, and attract customers to their

         products.

                   68.     To take one stark example: In a New York Times advertisement, Shell promoted its

         hydrogen fuel cells as “[o]ne of the cleaner sources” that power electric vehicles, telling consumers

         that “[h]ydrogen fuel cell vehicles . . . emit nothing from their tailpipes but water vapor.” 61 Yet

         Shell failed to disclose that almost all of the hydrogen fuel in the United States is produced by

         reforming natural gas, a process that releases significant amounts of greenhouse gases. Shell’s

         focus on tailpipe emissions is therefore highly misleading, because it creates the false impression

         that hydrogen fuel is a zero-emission fuel for transportation.

                   69.     These advertisements are illustrative of ExxonMobil, Shell, and BP’s efforts to

         greenwash their corporate image by exaggerating the climate benefits of their investments in

         natural gas and other “alternative fuels.” They are not exhaustive, however. The Appendix

         identifies additional advertisements of this kind, and NYC consumers are viewing many more on

         a daily basis through newspapers, social media, and other advertising platforms. These

         greenwashing advertisements are deceptive and violate the CPL.




         61
              Shell, The Mobility Quandary, supra note 51.


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         IV.    API Misleadingly Greenwashes Fossil Fuels’ Role in Climate Change

                70.     In lockstep with its member companies—including three of its largest and most

         influential members, ExxonMobil, Shell, and BP—API’s public messaging, including in

         advertising and statements directed at NYC consumers, misleadingly greenwashes fossil fuels’

         role in climate change. API touts its members’ purported commitments to reducing their products’

         carbon footprints while continuing its core mission of promoting its members’ extraction,

         production, and sale of fossil fuels to consumers in New York City and throughout the United

         States at unprecedented rates.

                71.     During the 2017 Super Bowl, the most-watched television program in the United

         States, API debuted its “Power Past Impossible” campaign, with advertisements that told

         Americans that the petroleum industry could help them “live better lives.” From November 2017

         to the end of January 2018, the campaign specifically targeted New York City with billboards in

         Times Square. 62 As of July 21, 2020, the Power Past Impossible website called oil and natural gas

         “Energy for a Cleaner Environment,” language API still uses on its website. 63 In touting the

         environmental benefits of fossil fuels, the website induces a false consumer affinity for oil and

         natural gas products that cannot be reconciled with those products’ leading role in contributing to

         climate change and its attendant environmental and human health risks.

                72.     A 2018 study of the advertisements by Dr. Kim Sheehan, a professor at the

         University of Oregon, concluded that the “campaign provides evidence of greenwashing through




         62
            American Petroleum Institute, ‘Power Past Impossible’ Hits Times Square (Nov. 28, 2017),
         https://www.api.org/news-policy-and-issues/blog/2017/11/28/power-past-impossible-hits-new-yorks-
         times-square.
         63
            American Petroleum Institute, “Energy for a Cleaner Environment,” https://www.api.org/news-policy-
         and-issues/state-of-american-energy/soae-2019-cleaner.


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         both explicit communications (such as unsubstantiated claims that ‘gas comes cleaner’ and ‘oil

         runs cleaner’) and implicit communications (the use of green imagery).” 64

                 73.      Recently, API has run ads in the Washington Post touting the environmental and

         climate benefits of natural gas with titles like “natural gas will thrive in the age of renewables,”

         “real climate solutions won’t happen without natural gas and oil,” and “low and no carbon future

         starts with natural gas.” 65 These statements are deceptive without providing information that the

         very products they claim to be the “solution” to climate change—natural gas and oil—are also its

         primary cause.

                 74.      Many of API’s television, radio, and social media advertisements, including those

         that reached NYC consumers, directed viewers to a website for a campaign run by API entitled

         “Energy for Progress,” which falsely portrays the oil and gas industry as a leader in reducing

         greenhouse gas emissions. For at least six months, the campaign’s website cast natural gas as a

         “clean” fuel before that description was revised to “cleaner” sometime in summer 2020. Among

         many articles and images promoting fossil fuel companies’ claimed contributions to clean energy,

         the website advertises “5 Ways We’re Helping to Cut Greenhouse Gas Emissions” and “4 Ways

         We’re Protecting Wildlife.” 66 These messages misleadingly portray the oil and gas industry as an

         environmental leader by focusing on marginal improvements in operational emissions while

         ignoring the much greater emissions from continued and expanded fossil fuel production. 67 By

         obfuscating the reality that fossil fuels are the driving force behind climate change, API’s


         64
            Kim Sheehan, This Ain’t Your Daddy’s Greenwashing: An Assessment of the American Petroleum
         Institute’s Power Past Impossible Campaign, in INTELLECTUAL PROPERTY AND CLEAN ENERGY 301–21
         (Matthew Rimmer ed., 2018).
         65
            Sponsored Content, API, WP Brand Studio, WASH. POST https://www.washingtonpost.com/brand-
         studio/wp/tag/api/.
         66
            American Petroleum Institute, “Energy for Progress,” https://energyforprogress.org.
         67
            American Petroleum Institute, “5 Ways We’re Using Energy for Progress,” https://energyforprogress.org/
         the-basics.


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         promotional messages are designed to increase NYC consumers’ use of fossil fuels—and to

         reassure NYC consumers that choosing fossil fuel products is compatible with their environmental

         values—in order to advance API’s core mission of growing its member companies’ oil and natural

         gas businesses.




                          Figure 12: API advertisement from its Energy for Progress campaign,
                                       used as the campaign’s Facebook banner.

                75.        As part of its Energy for Progress campaign, API has run a series of Facebook

         advertisements, many of which have reached a substantial number of NYC consumers. The social

         media ads are among thousands from the American Petroleum Institute that have reached New

         York. For example, in 2020, API ran advertisements with statements such as:

                      x    “We can tackle climate change and meet the world’s energy needs by embracing

                           new innovations together.” 68




         68
           See Facebook Ad Library, API, Facebook Ad ID: 1554734221395483, https://www.facebook.com/
         ads/library/?id=1554734221395483.


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                       x   “We can all agree we need strong climate solutions—and with natural gas as a

                           dominant energy source, U.S. carbon emissions are the lowest levels in a

                           generation.” 69

                       x   “Let’s work together to find climate solutions while meeting our essential energy

                           needs.” 70

         These statements are deceptive because they falsely paint the fossil fuel industry as a leader on

         climate change action while omitting key information about the role of fossil fuels in causing the

         climate crisis.

                                           FIRST CAUSE OF ACTION
                       Engaging in deceptive trade practices in violation of NYC Code § 20-700

                                    (Against Defendants ExxonMobil, Shell, and BP)

          ExxonMobil, Shell, and BP have deceived NYC consumers by misrepresenting the purported
           environmental benefit of using their fossil fuel products and failing to disclose the risks of
                                   climate change caused by those products.

                 76.       The City realleges each and every allegation contained above, as though set forth

         herein in full.

                 77.       NYC Code § 20-700 prohibits any “person” from “engag[ing] in any deceptive or

         unconscionable trade practice in the sale . . . of any consumer goods or services[.]” NYC Code

         § 20-700. “Any false, falsely disparaging, or misleading oral or written statement, visual

         description or other representation of any kind made in connection with the sale . . . or in

         connection with the offering for sale . . . of consumer goods or services, . . . which has the capacity,

         tendency or effect of deceiving or misleading consumers” is a deceptive trade practice. NYC Code



         69
            See Facebook Ad Library, API, Facebook Ad ID: 306269540617537, https://www.facebook.com/
         ads/library/?id=306269540617537.
         70
            See Facebook Ad Library, API, Facebook Ad ID: 1252693268407536, https://www.facebook.com/
         ads/library/?id=1252693268407536.


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         § 20-701(a). Deceptive trade practices include “representations that goods or services have . . .

         characteristics, ingredients, uses, [or] benefits . . . that they do not have” and “the use, in any oral

         or written representation, of exaggeration, innuendo, or ambiguity as to a material fact or failure

         to state a material fact if such use deceives or tends to deceive[.]” NYC Code § 20-701(a).

                   78.   NYC Code § 20-700 is to be liberally construed to safeguard consumers and the

         public.

                   79.   ExxonMobil, Shell, and BP are “persons” within the meaning of NYC Code

         § 20-700 and are required to comply with the provisions of NYC Code § 20-700 in their

         representations made in connection with the sale or offering for sale of their fossil fuel products

         and services.

                   80.   Fossil fuel products, including but not limited to gasoline and diesel fuel, constitute

         “consumer goods or services” within the meaning of NYC Code § 20-701(c).

                   81.   ExxonMobil, Shell, and BP violated NYC Code § 20-700, and each Defendant is

         liable for penalties of $350 for each violation, or $500 if the violation was knowing. NYC Code

         § 20-703(b). These defendants knew or should have known at the time of making or disseminating

         these statements that the material misrepresentations in their advertising and promotional materials

         directed to NYC consumers were and are deceptive and/or had the tendency to deceive reasonable

         consumers. Their omissions, which are deceptive and misleading in their own right, render even

         seemingly truthful statements about fossil fuel use false and misleading.

                   82.   ExxonMobil, Shell, and BP’s deceptive practices involved the sale and offering for

         sale of consumer goods or services, in the form of gasoline, motor oil, natural gas, and other fossil

         fuel-related goods or services, within the meaning of NYC Code § 20-700. ExxonMobil, Shell,




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         and BP market and sell these products to NYC consumers primarily for personal, household, or

         family purposes, making their products consumer goods. NYC Code § 20-701(c).

                 83.       ExxonMobil, Shell, and BP violated NYC Code § 20-700 by affirmatively

         misrepresenting the environmental benefits of various fossil fuel products sold at their gasoline

         stations in New York City. In advertisements and promotional materials published in connection

         with the sale or offering for sale of their fossil fuel products and services, ExxonMobil, Shell, and

         BP portray these fuels as good for the climate and the environment, without disclosing the material

         facts that those products significantly increase greenhouse gas emissions and are one of the

         primary drivers of climate change. Those representations, omissions, and half-truths create a

         misleading impression, are deceptive, and have the tendency and capacity to mislead and deceive

         consumers.

                 84.       ExxonMobil, Shell, and BP’s false and misleading representations and omissions

         are material because they are relevant and important to a consumer’s decision to purchase their

         fossil fuel products, are capable of influencing a consumer’s decision to purchase their fossil fuel

         products, have the capacity to affect consumer energy, transportation, and consumption choices,

         and deter consumers from adopting cleaner, safer alternatives to their fossil fuel products.

                                          SECOND CAUSE OF ACTION
                           Engaging in deceptive trade practices in violation of NYC Code § 20-700
                                  (Against Defendants ExxonMobil, Shell, and BP)

                            ExxonMobil, Shell, and BP have deceived NYC consumers by
                             engaging in false and misleading greenwashing campaigns.

                 85.       The City realleges each and every allegation contained above, as though set forth

         herein in full.

                 86.       NYC Code § 20-700 prohibits any “person” from “engag[ing] in any deceptive or

         unconscionable trade practice in the sale . . . of any consumer goods or services[.]” NYC Code



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         § 20-700. “Any false, falsely disparaging, or misleading oral or written statement, visual

         description or other representation of any kind made in connection with the sale . . . or in

         connection with the offering for sale . . . of consumer goods or services, . . . which has the capacity,

         tendency or effect of deceiving or misleading consumers” is a deceptive trade practice. NYC Code

         § 20-701(a). Deceptive trade practices include “representations that goods or services have . . .

         characteristics, ingredients, uses, [or] benefits . . . that they do not have” and “the use, in any oral

         or written representation, of exaggeration, innuendo, or ambiguity as to a material fact or failure

         to state a material fact if such use deceives or tends to deceive[.]” NYC Code § 20-701(a).

                   87.   NYC Code § 20-700 is to be liberally construed to safeguard consumers and the

         public.

                   88.   Defendants ExxonMobil, Shell, and BP are “persons” within the meaning of NYC

         Code § 20-700 and are required to comply with the provisions of NYC Code § 20-700 in their

         representations made in connection with the sale or offering for sale of their fossil fuel products

         and services.

                   89.   Fossil fuel products, renewable energy, and other alternative energy sources

         constitute “consumer goods or services” within the meaning of NYC Code § 20-701(c).

                   90.   ExxonMobil, Shell, and BP violated NYC Code § 20-700. Each Defendant is liable

         for penalties of $350 for each violation, or $500 if the violation was knowing. NYC Code § 20-

         703(b). These defendants knew or should have known at the time of making or disseminating these

         statements that the material misrepresentations in their advertising and promotional materials

         directed to NYC consumers were and are deceptive and/or had the tendency to deceive reasonable

         consumers. Their omissions, which are deceptive and misleading in their own right, render even

         seemingly truthful statements about fossil fuel use false and misleading.




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                91.      ExxonMobil, Shell, and BP violated NYC Code § 20-700 by engaging in a number

         of deceptive practices in connection with the sale or offering for sale of their fossil fuel products

         and services, including:

                      a. By creating a misleading impression of the role of renewables in their businesses

                         through advertisements and other promotional statements directed at and viewed

                         by NYC consumers. ExxonMobil, Shell, and BP deceitfully represent themselves

                         as leaders in renewable energy, including by exaggerating the proportion of their

                         investments in clean energy as a purportedly substantial proportion of their

                         business, when in fact their investments in clean energy are negligibly small.

                         Further, ExxonMobil, Shell, and BP make exaggerated or otherwise misleading

                         claims about steps they have taken to reduce their overall carbon footprints, all the

                         while failing to state material facts about continuing and increasing their fossil fuel

                         production and thus directly contributing to climate change. In so doing,

                         ExxonMobil, Shell, and BP used exaggeration as to material facts and failed to state

                         material facts that tended to deceive consumers regarding their commitments to

                         environmental sustainability. NYC Code § 20-701(a). Finally, by falsely

                         representing that they operated diversified energy portfolios with meaningful

                         renewable and low-carbon fuel components, ExxonMobil, Shell, and BP made

                         representations that their goods or services had characteristics or benefits that they

                         do not in fact possess, which tended to deceive consumers about the environmental

                         sustainability of these defendants’ practices. NYC Code § 20-701(a).

                      b. By exaggerating or otherwise misrepresenting the purported environmental benefits

                         of their fossil fuel products. Such deceptive practices include asserting misleading




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                           claims that natural gas is “cleaner burning” while omitting the lifecycle emissions

                           information for gas, misleading claims that natural gas only performs a back-up

                           function in electricity generation, and misleading statements that gas is a “perfect

                           pair” with renewables.

                 92.       ExxonMobil, Shell, and BP’s false and misleading representations and omissions

         are material because they are relevant and important to a consumer’s decision to purchase fossil

         fuel products, are capable of influencing a consumer’s decision to purchase fossil fuel products,

         have the capacity to affect consumer energy, transportation, and consumption choices, and deter

         consumers from adopting cleaner, safer alternatives to fossil fuel products.

                                           THIRD CAUSE OF ACTION
                           Engaging in deceptive trade practices in violation of NYC Code § 20-700
                                 (Against Defendant American Petroleum Institute)

                                        API has deceived NYC consumers by
                             engaging in false and misleading greenwashing campaigns.

                 93.       The City realleges each and every allegation contained above, as though set forth

         herein in full.

                 94.       NYC Code § 20-700 prohibits any “person” from “engag[ing] in any deceptive or

         unconscionable trade practice in the sale . . . of any consumer goods or services[.]” NYC Code

         § 20-700. “Any false, falsely disparaging, or misleading oral or written statement, visual

         description or other representation of any kind made in connection with the sale . . . or in

         connection with the offering for sale . . . of consumer goods or services, . . . which has the capacity,

         tendency or effect of deceiving or misleading consumers” is a deceptive trade practice. NYC Code

         § 20-701(a). Deceptive trade practices include “representations that goods or services have . . .

         characteristics, ingredients, uses, [or] benefits . . . that they do not have” and “the use, in any oral




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         or written representation, of exaggeration, innuendo, or ambiguity as to a material fact or failure

         to state a material fact if such use deceives or tends to deceive[.]” NYC Code § 20-701(a).

                   95.      NYC Code § 20-700 is to be liberally construed to safeguard consumers and the

         public.

                   96.      Defendant API is a “person” within the meaning of NYC Code § 20-700 and is

         required to comply with the provisions of NYC Code § 20-700 in its representations made in

         connection with the sale or offering for sale of its members’ fossil fuel products and services.

                   97.      Fossil fuel products, renewable energy, and other alternative energy sources

         constitute “consumer goods or services” within the meaning of NYC Code § 20-701(c).

                   98.      API violated NYC Code § 20-700 and is liable for penalties of $350 for each

         violation, or $500 if the violation was knowing. NYC Code § 20-703(b). API knew or should have

         known at the time of making or disseminating these statements that the material misrepresentations

         in their advertising and promotional materials directed to NYC consumers were and are deceptive

         and/or had the tendency to deceive reasonable consumers. API’s omissions, which are deceptive

         and misleading in their own right, render even seemingly truthful statements about fossil fuel use

         false and misleading.

                   99.      API violated NYC Code § 20-700 by engaging in a number of deceptive practices

         in connection with the sale or offering for sale of its members’ fossil fuel products and services,

         including:

                         a. By misrepresenting the extent of their members’ investments in clean energy and

                            the role of oil and natural gas in combatting climate change through their

                            advertisements and other promotional statements directed at and viewed by NYC

                            consumers. API deceitfully represents its oil and gas industry members as leaders




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                         in renewable energy, including by exaggerating the proportion of their investments

                         in clean energy as a purportedly substantial proportion of their business, when in

                         fact their investments in clean energy are negligibly small.

                     b. By exaggerating or otherwise misrepresenting the purported environmental benefits

                         of API’s members’ fossil fuel products. Such deceptive practices include asserting

                         misleading claims that natural gas is “cleaner burning” while omitting the lifecycle

                         emissions information for gas, misleading claims that natural gas only performs a

                         back-up function in electricity generation, and misleading statements that gas is a

                         “partner to” renewables.

                 100.    API’s false and misleading representations and omissions are material because they

         are relevant and important to a consumer’s decision to purchase fossil fuel products, are capable

         of influencing a consumer’s decision to purchase fossil fuel products, have the capacity to affect

         consumer energy, transportation, and consumption choices, and deter consumers from adopting

         cleaner, safer alternatives to fossil fuel products.

                                                  RELIEF SOUGHT

         WHEREFORE, Plaintiff requests that the Court enter a judgment in its favor and grant relief

         against Defendants as follows:

             a. Permanently enjoin Defendants, pursuant to NYC Code § 20-703(d), from engaging in any

                 acts that violate the CPL, including, but not limited to, the deceptive acts and practices

                 alleged herein;

             b. Award civil penalties in an amount to be proven at trial and as authorized per violation of

                 the CPL, pursuant to NYC Code § 20-703(a), (b);




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               c. Award Plaintiff the costs of this action and reasonable attorney’s fees, pursuant to NYC

                   Code § 20-703(c).

               d. Grant such further relief as the Court deems just and proper.


                                                        Respectfully Submitted,

                    Dated: April 22, 2021                JAMES E. JOHNSON
                                                         Corporation Counsel of the City of New York

                                                         /s/ Hilary Meltzer
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                                                         Attorneys for Plaintiff
                                                         The City of New York




         71
              Special Assistant Corporation Counsel (passed the October 2020 Uniform Bar Exam).


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                                                VERIFICATION

                 Hilary Meltzer, an attorney admitted to practice in the State of New York affirm under

         penalty of perjury:

                 I am the Chief of the Environmental Law Division for the New York City Law Department

         and am counsel for the Plaintiff.

                 I have read the foregoing Complaint and Appendix and know the contents thereof, which

         are to my knowledge true, except to those matters stated to be alleged on information and belief,

         and to these matters I believe them to be true. I base this verification on my personal knowledge,

         my review of books and records of the City of New York, my review of documents referred to in

         the Complaint and Appendix, and my discussions with employees of the City of New York.

         Date:          New York, New York
                        April 22, 2021


                                                      _/s/ Hilary Meltzer_______________




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             SUPREME COURT OF THE STATE OF NEW YORK
             COUNTY OF NEW YORK

             The City of New York,

                                   Plaintiff,
                                                                APPENDIX
                    -against-

             Exxon Mobil Corp., ExxonMobil Oil
             Corporation, Royal Dutch Shell plc, Shell Oil
             Company, BP p.l.c., BP America Inc., and
             American Petroleum Institute,

                           Defendants.




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         1.       The advertisements, promotional materials, and other public statements contained in this

         Appendix provide non-exhaustive examples of ExxonMobil, Shell, BP, and API’s deceptive

         conduct. Each was targeted at or disseminated to New York City consumers during the past three

         years.

         2.       ExxonMobil’s Misleading Marketing of Fossil Fuel Products

                                 ADVERTISING
              DESCRIPTION                                     EXAMPLES OF DECEPTIVE CONDUCT
                                   PLATFORM
          a. Synergy™          Various locations,         x   ExxonMobil’s website contains promotional
          fuel                 including                      materials for Synergy™ that feature a
                               ExxonMobil’s                   photograph of a mountain sunrise with trees in
                               website and                    the foreground and text expressly representing
                               ExxonMobil-                    Synergy products as helping to reduce
                               branded gas                    greenhouse gas emissions. These materials
                               stations in NYC.               misleadingly      suggest     that    purchasing
                                                              Synergy™ fuels is good for the climate, while
                                                              concealing the material fact that these fuels
                                                              emit large quantities of greenhouse gas
                                                              emissions that harm the planet and its people.
                                                              For example:
                                                          x   “Environmental        performance      .    .   .
                                                              Conscientious practices. Rigorous standards . .
                                                              . Continually improving environmental
                                                              performance while pursuing reliable and
                                                              affordable energy.”
                                                          x   “We’re continually innovating to develop
                                                              products that enable customers to reduce their
                                                              energy use and CO2 emissions. For example,
                                                              we have: Developed specially formulated
                                                              synthetic lubricants for cars, trucks and
                                                              industrial equipment that last longer and help
                                                              end-users reduce their energy consumption . . .
                                                              Created tire liners that retain air better than
                                                              their predecessors, thereby improving vehicle
                                                              fuel efficiency . . . Developed a technology to
                                                              improve the separator films used in lithium-ion
                                                              batteries, which are used in laptops, cell phones
                                                              and, increasingly, hybrid vehicles.”
                                                          x   “Engineered Fuel Technology Synergy™ fuels
                                                              to help improve fuel economy and reduce CO2
                                                              emissions.”


                                                         1


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                            ADVERTISING
            DESCRIPTION                              EXAMPLES OF DECEPTIVE CONDUCT
                             PLATFORM
                                           x ExxonMobil claims, including at its branded gas
                                             stations in New York City, that the fuel will “take you
                                             further,” and contains more detergents than required by
                                             the Environmental Protection Agency. These
                                             representations are deceptive because they play up the
                                             fuel’s environmental benefits while failing to disclose
                                             the material facts that these fuels are a driving cause of
                                             climate change.




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                                   ADVERTISING
              DESCRIPTION                                      EXAMPLES OF DECEPTIVE CONDUCT
                                     PLATFORM
             b. Synergy          Various locations, x    ExxonMobil advertises its Synergy™ Diesel Efficient
             Diesel              including              fuel as the “latest breakthrough technology” and the
             Efficient™ fuel 1   ExxonMobil-            “first diesel fuel widely available in the US” that helps
                                 branded gas            “[i]ncrease fuel economy” and “[r]educe emissions
                                 stations in NYC.       and burn cleaner,” and “was created to let you drive
                                                        cleaner, smarter and longer.”
                                                   x    Such statements create a misleading impression of the
                                                        fuel’s environmental impacts because they fail to
                                                        disclose the material fact that diesel fuels, including
                                                        this one, emit substantial quantities of greenhouse
                                                        gases that contribute significantly to climate change.
             c. Synergy™         Various locations, x   In advertising its Synergy™ Supreme+ gasoline,
             Supreme + 2         including              ExxonMobil emphasizes environmental qualities like
                                 ExxonMobil-            “2X cleaner” and “lower emissions,” with the smaller
                                 branded gas            text explaining that it “can lead to lower emissions.”
                                 stations in NYC. x     These statements misrepresent the emissions benefits
                                                        from using Synergy™ Supreme+ by omitting the
                                                        material fact that this fuel generates significant
                                                        amounts of greenhouse gas emissions and plays a key
                                                        role in exacerbating climate change.




             d. Synergy™         Various locations, x   In ExxonMobil’s annual Energy and Carbon
             product line        including              Summary, the company promotes its Synergy™ fossil
                                 ExxonMobil             fuel product line as “help[ing] customers reduce their
                                 website.               emissions.” It states: “Premium fuels such as

         1
           ExxonMobil, Fuels, https://web.archive.org/web/20180623074309/https://www.exxon.com/en/synergy-
         diesel-efficient-passenger.
         2
           ExxonMobil, Fuels, https://www.exxon.com/en/unleaded-gasoline.
                                                           3


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                                ADVERTISING
              DESCRIPTION                                     EXAMPLES OF DECEPTIVE CONDUCT
                                 PLATFORM
             ExxonMobil                                Synergy™ gasoline and diesel also help consumers
             Energy &                                  improve gas mileage. By improving engine efficiency
             Carbon                                    and fuel economy, these products can help reduce
             Summaries 3                               greenhouse gas emissions compared to conventional
                                                       lubricants and fuels. ExxonMobil is progressing
                                                       several multibillion-dollar refinery expansion projects
                                                       to supply the growing demand for these advanced
                                                       products.”
                                                   x   These representations are deceptive and misleading
                                                       because they fail to disclose that ExxonMobil’s
                                                       “[p]remium fuels” still generate large amounts of
                                                       greenhouse gas emissions that contribute significantly
                                                       to climate change.




         3
          ExxonMobil, 2021 Energy & Carbon Summary (Jan. 2021), at 31, https://corporate.exxonmobil.com/-
         /media/Global/Files/energy-and-carbon-summary/Energy-and-Carbon-Summary.pdf. In previous years
         ExxonMobil has released similar Energy & Carbon Summary reports with similar deceptive statements
         about ExxonMobil fuels helping to reduce greenhouse gas emissions.
                                                          4


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         3.        ExxonMobil’s Misleading and Deceptive Greenwashing Campaigns

                             ADVERTISING
             DESCRIPTION                                  EXAMPLES OF DECEPTIVE CONDUCT
                              PLATFORM
             a. The Future   New York       x   ExxonMobil claims that the company is “working to decrease
             of Energy? It   Times              our overall carbon footprint,” markets itself as an innovator in
             May Come                           the development of alternative fuels, such as fuel from algae
             From Where                         and from farm waste, and falsely represents itself as an
             You Least                          environmentally responsible company, concluding the post
             Expect                             with the statement: “A Greener Energy Future: Literally.
             (ExxonMobil                        That’s Unexpected Energy.”
             paid post) 4




         4
          ExxonMobil, The Future of Energy? It May Come From Where You Least Expect, N.Y. TIMES,
         https://www.nytimes.com/paidpost/exxonmobil/the-future-of-energy-it-may-come-from-where-you-least-
         expect.html.
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                             ADVERTISING
             DESCRIPTION                                    EXAMPLES OF DECEPTIVE CONDUCT
                              PLATFORM
             b. School of    YouTube and     x   The ad features an ExxonMobil researcher explaining to a
             ExxonMobil:     other social        child that ExxonMobil is “looking for alternative forms of
             Algae Biofuel   media and           energy that are better for the environment for your generation”
             (social media   Internet            (screenshot below). The researcher tells the child that algae
             and             locations           exist everywhere, including “in a polar bear’s fur,” so “if you
             marketing                           ever see a picture of a green polar bear, that’s actually algae.”
             video) 5                            The company evokes polar bears despite their product via
                                                 climate change being associated with the decimation of the
                                                 species.
                                             x   Overall, the video misleadingly portrays ExxonMobil as a
                                                 leader in clean energy research despite investing relatively
                                                 little in these efforts.
                                             x   The YouTube upload alone has over 209,229 views as of April
                                                 20, 2021.
                                             x   The video was repeatedly promoted elsewhere. 6




         5
           YouTube, School of ExxonMobil: Algae Biofuel, ExxonMobil,
         https://www.youtube.com/watch?v=9IuAkMJqb7Y (accessed June 4, 2020).
         6
           E.g., Energy Factor by ExxonMobil, What Algae-powered Fuels Mean to Kids (Jan. 17, 2019),
         https://energyfactor.exxonmobil.com/reducing-emissions/alternative-fuels/what-algae-powered-fuels-
         mean-to-kids/.
                                                           6


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                            ADVERTISING
             DESCRIPTION                                 EXAMPLES OF DECEPTIVE CONDUCT
                             PLATFORM
             c. From Farm New York         x The paid video post promotes Exxon’s conversion of crop
             Waste to Fuel Times             leftovers, wood waste, and switch grass into biofuel, which the
             Tank                            company says its scientists are “exploring how to use . . . on a
             (ExxonMobil                     vast scale.” Exxon claims that biomass is “cheap and
             paid post) 7                    abundant” and biofuels made from it have “the power to make
                                             a big difference.”
                                           x However, the company does not mention that producing
                                             biofuel feedstocks is itself resource intensive, and depending
                                             on production processes, biofuels can emit even more
                                             greenhouse gas emissions than some fossil fuels.
             d. Social      LinkedIn       x The LinkedIn post states: “We recently announced a plan to
             media post 8                    further reduce greenhouse gas emissions in our global
                                             operations by 2025, while aiming for industry-leading GHG
                                             performance by 2030. We are positioning for a lower-carbon-
                                             energy future and this plan represents some of the most
                                             aggressive reductions in the industry.”
                                           x It then adds: “Our 2025 plans are expected to reduce absolute
                                             greenhouse gas emissions by an estimated ~30% for the
                                             company’s upstream business.”
                                           x These statements portray ExxonMobil as centrally focused on
                                             transitioning to clean energy resources, despite the fact that the
                                             company’s business remains laser-focused on producing fossil
                                             fuels. Statements about reducing greenhouse gases from
                                             ExxonMobil’s upstream operations (i.e. exploration and
                                             production operations) are misleading because they omit the
                                             downstream emissions from combusting fossil fuels, which far
                                             outstrip upstream emissions and which contribute significantly
                                             to climate change.




         7
          https://www.nytimes.com/paidpost/exxonmobil/from-farm-waste-to-fuel-tank.html#100000006080624.
         8
          LinkedIn, ExxonMobil, https://www.linkedin.com/posts/exxonmobil_energy-carbon-summary-activity-
         6769727442681655296-CoDp.
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                             ADVERTISING
             DESCRIPTION                                   EXAMPLES OF DECEPTIVE CONDUCT
                              PLATFORM




             e. Social      Instagram        x   Discussing the “dual challenge” of “finding ways to provide
             media ad 9                          affordable energy to a growing population while addressing
                                                 the risks of climate change.”
                                             x   One image slide boasts: “Over the last 40 years, we have
                                                 cumulatively captured the most CO2 of any company.”
                                             x   Such statements deceptively imply that ExxonMobil is
                                                 significantly contributing to the fight against climate change—
                                                 when, in fact, its investments in clean energy resources are
                                                 negligible and the company is ramping up fossil fuel
                                                 production.




         9
             @exxonmobil, Instagram (Nov. 24, 2020), https://www.instagram.com/p/CH_JQugBNjc.
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                             ADVERTISING
          DESCRIPTION                                       EXAMPLES OF DECEPTIVE CONDUCT
                              PLATFORM




          f. Social          Facebook         x   “Chips and guacamole are an ideal combination. Kind of like
          media ad 10                             natural gas and renewable energy.” The accompanying video
                                                  graphic then adds: “When it comes to cleaner energy, some
                                                  things just work better together. We’re leaders in natural gas
                                                  which is reliable and abundant and supports renewable energy.
                                                  Combined they’re the perfect pair for a cleaner energy future.”
                                              x   This ad misleading portrays natural gas as a “cleaner” energy
                                                  despite the fact that it produces significant greenhouse gas
                                                  emissions.




         10
              Facebook Ad Library, https://www.facebook.com/ads/library/?id=452326435699710.
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                             ADVERTISING
          DESCRIPTION                                       EXAMPLES OF DECEPTIVE CONDUCT
                              PLATFORM




          g. Social          Facebook         x   “See how natural gas is shaping a cleaner world . . . From
          media ad 11                             cooking to cleaning to commuting, it’s generating electricity
                                                  and fueling the everyday with up to 60% fewer CO2 emissions
                                                  than coal.”
                                              x   That statement about the emissions impact of gas is misleading
                                                  because it associates natural gas with being “cleaner” and
                                                  omits the full picture of natural gas’s methane emissions and
                                                  their contribution to climate change.




         11
              Facebook Ad Library, https://www.facebook.com/ads/library/?id=431115604500094.
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                              ADVERTISING
          DESCRIPTION                                         EXAMPLES OF DECEPTIVE CONDUCT
                               PLATFORM




          h. Social          Instagram         x   “ExxonMobil: Working to meet the world’s growing #energy
          media bio                                needs while addressing the risks of climate change [green
                                                   planet emoji].”
                                               x   This promotional material is deceptive and misleading in light
                                                   of ExxonMobil’s negligible investments in clean energy
                                                   resources and massive investments in fossil fuel extraction,
                                                   development, and production.




          i. Natural gas     ExxonMobil        x   “The abundance and versatility of natural gas make it a
          webpage 12         Website               valuable energy source to meet a variety of needs while also
                                                   helping the world shift to less carbon-intensive sources of
                                                   energy.”
                                               x   This representation that natural gas will “help[] the world shift
                                                   to less carbon-intensive sources of energy” is misleading

         12
              ExxonMobil, “Natural Gas,” https://corporate.exxonmobil.com/Operations/Natural-gas.
                                                            11


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                           ADVERTISING
          DESCRIPTION                                     EXAMPLES OF DECEPTIVE CONDUCT
                            PLATFORM
                                                because ExxonMobil fails to disclose that natural gas produces
                                                significant quantities of greenhouse gas emissions that
                                                substantially contribute to climate change.
          j. CCS          ExxonMobil        x   “With our demonstrated leadership in carbon capture and
          webpage 13      Website               emissions reduction technologies, ExxonMobil is committed
                                                to meeting the demand for affordable energy while reducing
                                                emissions and managing the risks of climate change.”
                                            x   “ExxonMobil is the leader in carbon capture, with current
                                                carbon capture capacity totaling about 9 million tonnes per
                                                year.”
                                            x   On Feb. 1, 2021, ExxonMobil announced the creation of a new
                                                business—ExxonMobil          Low       Carbon      Solutions—to
                                                commercialize and deploy emission-reduction technologies. It
                                                will initially focus on carbon capture and storage, one of the
                                                critical technologies required to achieve net zero emissions and
                                                the climate goals outlined in the Paris Agreement.
                                            x   These statements misleadingly exaggerate Exxon’s efforts to
                                                reduce emissions and combat climate change by omitting the
                                                material facts that (1) that the 9 million tonnes of captured
                                                carbon represents less than 2 percent of the company’s annual
                                                emissions (roughly 730 million tons in 2019); and (2) that its
                                                investments in carbon capture are negligible when compared
                                                to its current and planned investments in fossil fuel
                                                production. 14




         13
            ExxonMobil, “Carbon capture and storage (CCS),” https://corporate.exxonmobil.com/Energy-and-
         innovation/Carbon-capture-and-storage.
         14
            Greenwashing Files: ExxonMobil, ClientEarth, https://www.clientearth.org/the-greenwashing-
         files/exxonmobil/#about.
                                                         12


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         4.     Shell’s Misleading Marketing of Fossil Fuel Products

                           ADVERTISING
          DESCRIPTION                                     EXAMPLES OF DECEPTIVE CONDUCT
                             PLATFORM
          a. V-Power       Various           x    All grades of Shell gasoline sold in New York City have
          Nitro+           locations,             the Shell Nitrogen Enriched Cleaning System, and Shell
          Premium          including              introduced a line for its premium-grade gasoline called V-
                           Shell’s                Power Nitro+ Premium.
                           website 15 and    x    Shell advertises on its website that these fuels “produce[]
                           Shell-branded          fewer emissions” and that not using them can lead to
                           gas stations in        “higher emissions.”
                           NYC.              x    Those advertisements are misleading because they fail to
                                                  disclose that these fuels emit significant quantities of
                                                  greenhouse gas emissions that are contributing
                                                  substantially to climate change.




         5.     Shell’s Misleading and Deceptive Greenwashing Campaigns

                             ADVERTISING
          DESCRIPTION                                      EXAMPLES OF DECEPTIVE CONDUCT
                              PLATFORM
          a. Social         Facebook             x “ᚕ
                                                    ᚜ Hydrogen cars, ᡼
                                                    ᚛
                                                    ᚚ
                                                    ᚙ
                                                    ᚘ
                                                    ᚗ
                                                    ᚖ                    ᢁ electric bikes or ⶒ
                                                                         ᢀ
                                                                         ᡿
                                                                         ᡾
                                                                         ᡽                   ⶖ leg work.
                                                                                             ⶕ
                                                                                             ⶔ
                                                                                             ⶓ
          media ad 16                              Which will win the cleaner transport crown?
                                                   #MakeTheFuture.”
                                                 x The ad reached hundreds of thousands of consumers in
                                                   New York State.
                                                 x The ad misleadingly portrays Shell as a company that
                                                   invests substantially in clean energy, despite its much
                                                   greater investment in fossil fuels.

         15
            Shell, “Shell V-Power NiTRO+ Premium Gasoline,” https://www.shell.us/motorist/shell-fuels/shell-v-
         power-nitro-plus-premium-gasoline.html.
         16
            Facebook Ad Library, https://www.facebook.com/ads/library/?id=330811114263195.
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                            ADVERTISING
          DESCRIPTION                                     EXAMPLES OF DECEPTIVE CONDUCT
                             PLATFORM
          b. The Making     Washington          x In this paid post, Shell refers to LNG as “sustainable”
          of Sustainable    Post                  and a “lower-carbon fuel” that could “help decrease”
          Mobility17                              CO2 emissions. The ad emphasizes Shell’s leadership in
          (Shell paid                             “setting the course” for a “lower-carbon mobility
          post)                                   future.” It also calls natural gas “part of a mosaic of
                                                  alternative energy sources,” and it implies that natural
                                                  gas is a sustainable energy source on par with other
                                                  alternative and renewable energy sources.
                                                x This advertisement is deceptive and misleading because
                                                  it omits the material facts that (1) natural gas produces
                                                  significant quantities of greenhouse gas emissions, and
                                                  (2) the unabated use of natural gas is incompatible with
                                                  preventing catastrophic climate change.




         17
           The Making of Sustainable Mobility (Content from Shell), WASH. POST,
         https://www.washingtonpost.com/brand-studio/shell/the-making-of-sustainable-mobility.
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                            ADVERTISING
          DESCRIPTION                                   EXAMPLES OF DECEPTIVE CONDUCT
                             PLATFORM




          c. The           Washington        x   The ad emphasizes Shell’s role in working to counteract
          Mobility         Post                  climate change through supposedly significant
          Quandary 18                            investments in alternative energy: “Shell is a bigger
          (Shell paid                            player than you might expect in this budding movement
          post)                                  to realize a cleaner and more efficient transportation
                                                 future.”
          See ¶ 11 for                       x   The ad falsely promotes hydrogen fuel cells as
          image.                                 “sustainable in the long-term” and “[o]ne of the cleaner
                                                 sources” that power electric vehicles, stating that
                                                 “[h]ydrogen fuel cell vehicles . . . emit nothing from
                                                 their tailpipes but water vapor.”
                                             x   Despite the ad’s framing, Shell invests relatively little in
                                                 renewable energy compared to its investments in fossil
                                                 fuel.
          d. Moving        New York          x   The ad promotes and makes claims about biofuels and
          Forward: A       Times                 hydrogen fuel as solutions to global warming. Shell

         18
           The Mobility Quandary (Content from Shell), WASH. POST., https://www.washingtonpost.com/brand-
         studio/shell/the-mobility-quandary.
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                             ADVERTISING
          DESCRIPTION                                     EXAMPLES OF DECEPTIVE CONDUCT
                              PLATFORM
          Path to Net                             defines biofuels as a solution for “the next few decades.”
          Zero                                    The ad also promotes hydrogen fuel, claiming it “emit[s]
          Emissions 19                            only water vapor from the tailpipe.” The ad also states
          (Shell paid                             that hydrogen fuel is “unlike electric batteries” – which
          post)                                   the ad calls “pricey” – because hydrogen “refueling is
                                                  quick and it is able to power longer drives.”
          See ¶ 12 for                        x   For cargo shipping, the ad states that the expansion of
          image.                                  liquefied natural gas (LNG) would “help prevent climate
                                                  change from advancing”. “Why should LNG be a
                                                  marine fuel?” asks a Shell manager in the ad. “But that
                                                  question is rapidly becoming, ‘Why should it not be?’”
                                                  The manager states that within 22 to 25 years, Shell will
                                                  have built the infrastructure to supply LNG to marine
                                                  shipping as oil is supplied today. The ad closes its
                                                  discussion of cargo shipping by stating that hydrogen
                                                  could also fuel ships “with low to no emissions.”
                                                  However, LNG is a fossil fuel that produces significant
                                                  greenhouse gas emissions at all stages of its lifecycle.
                                              x   For air travel, the ad touts a partnership between Shell
                                                  Aviation and SkyNRG to supply “sustainable aviation
                                                  fuel” from “used cooking oil.” The ultimate purpose of
                                                  the project is “reducing the carbon emissions of flights.”
                                              x   The ad closes by portraying Shell as a driver of change
                                                  toward sustainable, low-carbon energy and government
                                                  and consumers as impediments. “[T]he paths to a
                                                  future of net-zero emissions […] won’t happen
                                                  overnight. […] It’ll involve forming supportive
                                                  government policies and getting consumers to embrace
                                                  lower-carbon options. It’ll also require changing
                                                  existing infrastructure, which could take decades. To
                                                  help navigate this multistage challenge, [Shell] calls for
                                                  the advancement of emerging technologies […] if
                                                  solutions beyond the power sector – including biofuels,
                                                  hydrogen and some degree of carbon capture and
                                                  storage – are fully embraced, it may be enough to
                                                  enable a net-zero emissions world by 2070.” David
                                                  Hone, Shell’s Chief Climate Change Advisor, goes on
                                                  to identify “political will and, underlying that, societal
                                                  will” as the main obstacle to addressing global
                                                  warming, while ignoring Shell’s own obstruction of


         19
           New York Times, Moving Forward: A Path to Net Zero Emissions, Shell,
         https://www.nytimes.com/paidpost/shell/ul/moving-forward-a-path-to-net-zero-emissions-by-2070.html.
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                             ADVERTISING
          DESCRIPTION                                     EXAMPLES OF DECEPTIVE CONDUCT
                              PLATFORM
                                                   non-fossil energy systems and global warming policies,
                                                   as well as the company’s promotion of disinformation.
                                               x   Despite this public-facing endorsement of an overhaul
                                                   of the energy system and the possibility of addressing
                                                   climate change, a disclaimer in Shell’s recent public
                                                   “Climate Target” reveals their misleading and illusory
                                                   nature: “As of February 11, 2021, Shell’s operating
                                                   plans and budgets do not reflect Shell’s Net-Zero
                                                   Emissions targets. Shell’s aim is that, in the future, its
                                                   operating plans and budgets will change to reflect this
                                                   movement towards its new Net-Zero Emissions target.
                                                   However, these plans and budgets need to be in step
                                                   with the movement towards a Net Zero Emissions
                                                   economy within society and among Shell’s customers.”
                                               x   The ad had over 1 million viewers in New York and
                                                   Houston. 20
          e. Social         Instagram and x        “Powering progress together with more and cleaner
          media bios 21     Twitter                energy solutions ፮
                                                                    ፯ #PoweringProgress.” In a separate
                                                   tweet, Shell states: “We power progress together by
                                                   providing more and cleaner energy solutions for the
                                                   world.”
                                               x   These descriptions falsely portray Shell as substantially
                                                   invested in clean energy without any mention of its
                                                   primary business being fossil fuel extraction,
                                                   development, and production.




         20
            Shell Envisioning a Lower-Carbon Future, N.Y. TIMES, T Brand Studio,
         https://www.tbrandstudio.com/projects/shell-moving-forward.
         21
            @ Shell_US, Twitter, https://twitter.com/shell_us?lang=en/
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                             ADVERTISING
          DESCRIPTION                                    EXAMPLES OF DECEPTIVE CONDUCT
                              PLATFORM




          f. Social media   Instagram         x   Shell’s posts often tout their renewable energy
          post 22                                 investments, for instance in wind power: “Scaling new
                                                  heights! ⚈⚇ This maintenance crew member works on a
                                                            ⚏
                                                            ⚎
                                                            ⚍
                                                            ⚌
                                                            ⚋
                                                            ⚊
                                                            ⚉
                                                  turbine hub 81 metres up at our onshore Mount Storm
                                                  wind farm in West Virginia. Shell is now also entering
                                                  offshore wind generation in the USA, where our joint
                                                  ventures intend to develop wind farms off New Jersey
                                                  and Massachusetts ፮ ፯ Another example of how we’re
                                                  building     our      renewable      power    business.
                                                  #renewableenergy #windfarm #windmill #windturbine
                                                  #wind.”
                                              x   These posts are deceptive and misleading because they
                                                  fail to disclose the material facts that Shell’s actual
                                                  investments in wind and other clean renewable energy
                                                  sources are negligible, and that the company is taking
                                                  steps to ramp up its fossil fuel production.




         22
           @Shell, Instagram (Dec. 2018), https://www.instagram.com/p/BrnYIIzn-27.
                                                         18


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                               ADVERTISING
          DESCRIPTION                                      EXAMPLES OF DECEPTIVE CONDUCT
                                PLATFORM




          g. Social           Instagram         x   Shell’s posts often tout their alternative energy
          media posts 23                            investments, for instance in electric vehicle
                                                    infrastructure: “ ፮ ፯ Expanding our electric vehicle
                                                    charging network. Shell has signed an agreement to
                                                    acquire @ubitricity, a leading #EV on-street charging
                                                    provider, in its latest step to support drivers making the
                                                    switch to lower-carbon transport. Founded in Berlin,
                                                    Germany, ubitricity operates in a number of European
                                                    countries, and is the largest public EV charging network
                                                    in the UK with over 2,700 charge points.
                                                    #electricvehicle #evcharging.”
                                                x   Again, these posts are deceptive and misleading because
                                                    Shell’s investments in electric vehicle infrastructure are
                                                    dwarfed by their investments in fossil fuels.




         23
              @Shell, Instagram (Jan. 25, 2021), https://www.instagram.com/p/CKeXn5VHFTl.
                                                           19


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                           ADVERTISING
          DESCRIPTION                                EXAMPLES OF DECEPTIVE CONDUCT
                            PLATFORM




         6. BP’s Misleading Marketing of Fossil Fuel Products

                          ADVERTISING
          DESCRIPTION                               EXAMPLES OF DECEPTIVE CONDUCT
                            PLATFORM
          a. Invigorate   Various      x    All grades of BP gasoline sold in the New York City have
          Fuels           locations,        Invigorate, an additive that BP describes on its website as
                          including         better than “ordinary fuels” that have problems like
                          BP’s website      “increased emissions.”
                          and BP-       x    BP’s website advertises its fuel selection as “including a
                          branded gas        growing number of lower-carbon and carbon-neutral
                          stations in        products.”
                          NYC.          x    These advertisements are misleading because they fail to
                                             disclose that these fossil fuel products emit significant
                                             quantities of greenhouse gas emissions and, therefore,
                                             contribute substantially to climate change.




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         7.     BP’s Misleading and Deceptive Greenwashing Campaigns

                            ADVERTISING
           DESCRIPTION                                    EXAMPLES OF DECEPTIVE CONDUCT
                             PLATFORM
          a. Possibilities Multi-platform      x The Possibilities Everywhere campaign misleadingly
          Everywhere 24 campaign,                portrayed BP as heavily involved in non-fossil energy
                           including Wall        systems, including wind, solar, and electric vehicles,
                           Street Journal,       when the company’s investments in clean energy
                           The                   resources actually represent a tiny sliver of its business.
                           Economist,          x One Possibilities Everywhere advertisement (titled
                           Financial             “Better fuels to power your busy life”) stated: “We []
                           Times, CNN,           want—and need—[ ] energy to be kinder to the planet. At
                           Twitter,              BP, we’re working to make our energy cleaner and better.
                           Facebook. and         […] At BP, we’re leaving no stone unturned to provide
                           others                [the] extra energy the world needs while finding new
                                                 ways to produce and deliver it with fewer emissions. […]
                                                 We’re bringing solar and wind energy to homes from the
                                                 US to India. We’re boosting supplies of cleaner-burning
                                                 natural gas. […] More energy with fewer emissions? We
                                                 see possibilities everywhere to help the world keep
                                                 advancing.” 25 The accompanying video added: “We all
                                                 want more energy, but with less carbon footprint. That’s
                                                 why at BP we’re working to make energy that’s cleaner
                                                 and better.” 26
                                               x In another advertisement in BP’s “Possibilities
                                                 Everywhere” campaign (this one called “Blade runners,”
                                                 BP describes itself as “one of the major wind energy
                                                 businesses in the US.” 27
                                               x These advertisements misleadingly imply that clean
                                                 energy investments represent a substantial part of BP’s
                                                 business and operations. In fact, those investments are
                                                 negligible when compared to the company’s investments
                                                 in fossil fuels.




         24
            See Campaign US, BP Launches Biggest Campaign in a Decade (Jan. 21, 2019),
         https://www.campaignlive.com/article/bp-launches-biggest-global-campaign-decade/1523391.
         25
            See BP, Better fuels to power your busy life, https://web.archive.org/web/20191130155554/
         https://www.bp.com/en/global/corporate/who-we-are/possibilities-everywhere/energy-for-busy-
         lives.html.
         26
            Id.
         27
            See BP, Blade runners, https://web.archive.org/web/20191130192545/https://www.bp.com/
         en/global/corporate/who-we-are/possibilities-everywhere/wind-and-natural-gas.html.
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                           ADVERTISING
           DESCRIPTION                                  EXAMPLES OF DECEPTIVE CONDUCT
                            PLATFORM




          b. Rise and      Multi-platform   x   In a web promotion titled “Rise and shine,” BP states that
          shine 28         campaign             “[its] economics gurus believe [solar power] could
                                                account for 10% of the world’s power by 2040,” adding:
                                                “to help make that a reality, we’ve teamed up with
                                                Europe’s largest solar company, [Lightsource BP].”
                                            x   The ad highlighted Lightsource BP’s 6.3 MW floating
                                                solar power station near London and Lightsource BP’s
                                                deal with Budweiser to supply renewable energy to its
                                                U.K. breweries. “Projects like these are advancing the
                                                possibilities of solar,” BP claims, “and even rainy days
                                                can’t dampen the excitement for this fast-growing energy
                                                source. That’s because, whatever the weather, our
                                                cleaner-burning natural gas can play a supporting role to
                                                still keep your kettle ready for action.”
                                            x   This portrayal of BP’s primary interest as solar power,
                                                with natural gas used only as a backup, is misleading and
                                                deceptive. BP’s investments in natural gas outstrip its
                                                solar investments by a factor of approximately one
                                                hundred or more, and only a small fraction of its natural
                                                gas products, an estimated 5% or less, are used to backup
                                                renewables. Thus, the overall impression given by the
                                                advertisements—that BP is primarily active in solar
                                                energy, with its natural gas used only for backup—is
                                                materially misleading to consumers.

         28
           BP, Rise and Shine,
         https://web.archive.org/web/20190329004210/https://www.bp.com/en/global/corporate/who-we-
         are/possibilities-everywhere/solar-and-natural-gas.html.
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                             ADVERTISING
           DESCRIPTION                                   EXAMPLES OF DECEPTIVE CONDUCT
                              PLATFORM
          c. Blade          Multi-platform x     In this “Blade runners” advertisements, BP misleadingly
          runners 29        campaign             describes the role played by its natural gas as both
                                                 necessary to compensate for wind power’s intermittency
                                                 and only used for that purpose. The ad promotes natural
                                                 gas as “a simple answer” to “keep the lights on when the
                                                 wind stops blowing” and intones that wind without
                                                 natural gas would be like “fish without chips, peanut
                                                 butter without jelly, and bread without butter.” It further
                                                 describes how natural gas is used only on “rare still days”
                                                 when the wind doesn’t blow.
                                             x   But natural gas is not necessary for wind power to be
                                                 viable, as BP claims. And the vast majority—more than
                                                 95%—of BP’s natural gas products are not used to back
                                                 up renewables, in stark contrast to the impression given
                                                 to consumers in the company’s advertisement.
          d. Better fuels   Multi-platform x     In other advertisements, BP promotes natural gas as
          to power your     campaign             “cleaner-burning,” “burn[ing] 50% cleaner than coal in
          busy life 30                           power generation,” and providing “more energy with
                                                 fewer emissions.”
                                             x   These statements misleadingly exaggerate the climate
                                                 benefits of natural gas because they fail to disclose that
                                                 natural gas creates significant quantities of greenhouse
                                                 gas emissions that are substantially contributing to
                                                 climate change.
                                             x   By focusing only on consumer use (“cleaner burning”)
                                                 and ignoring natural gas’s significant greenhouse gas
                                                 emissions during production and transportation, these
                                                 advertisements tell a half-truth and create the misleading
                                                 impression that expanding the production of natural gas
                                                 is a win-win investment in the fight against climate
                                                 change, with little to no downsides for the planet or its
                                                 people.
          e. BP’s Shift     YouTube and      x   In a marketing video, BP tells consumers that the
          to Gas 31         other social         company is “advancing the energy transition, and natural
          (social media     media.               gas has a crucial role.” It adds: “The world needs fuels



         29
            See BP, Blade runners, https://web.archive.org/web/20191130192545/https://www.bp.com/
         en/global/corporate/who-we-are/possibilities-everywhere/wind-and-natural-gas.html.
         30
            See BP, Better fuels to power your busy life,
         https://web.archive.org/web/20191130155554/https://www.bp.com/
         en/global/corporate/who-we-are/possibilities-everywhere/energy-for-busy-lives.html.
         31
            Youtube, BP’s Shift to Gas, BP, December 6, 2017,
         https://www.youtube.com/watch?v=ILwpc5MUmUM.
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                              ADVERTISING
           DESCRIPTION                                     EXAMPLES OF DECEPTIVE CONDUCT
                               PLATFORM
          and marketing                            that are abundant, affordable, and lower carbon – fuels
          video)                                   like natural gas.”
                                               x   This advertisement exaggerates the climate benefits of
                                                   natural gas by failing to disclose that natural gas emits
                                                   significant amounts of greenhouse gas emissions and that
                                                   continued consumption of natural gas will result in deadly
                                                   climate change.

          f. Social          Facebook          x   A number of BP Facebook ads, with an example shown
          media ad 32                              below, tout the ability and necessity of oil and gas to be
                                                   part of the climate solution, while failing to disclose that
                                                   these fossil fuels emit significant amounts of greenhouse
                                                   gas emissions that contributing substantially to climate
                                                   change.
                                               x   Although these ads feature a prominent image of
                                                   renewable wind energy, they actually advertise a different
                                                   message of natural gas as the “centerpiece” of a “net zero
                                                   carbon economy.”




          g. Social          Facebook          x   Another BP Facebook ad deceptively associates oil and
          media ad 33                              gas with “cleaner” energy: “Oil and gas will be needed to
                                                   meet energy demand for the growing population. See how
                                                   we’re making ours cleaner and better.” The ad fails to

         32
              Facebook Ad Library, https://www.facebook.com/ads/library/?id=680453289147451.
         33
              Facebook Ad Library, https://www.facebook.com/ads/library/?id=497972544144556.
                                                           24


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                              ADVERTISING
           DESCRIPTION                                    EXAMPLES OF DECEPTIVE CONDUCT
                               PLATFORM
                                                   disclose, however, the fact that BP’s oil and gas products
                                                   produce large quantities of greenhouse gas emissions that
                                                   are pushing the world towards deadly levels of global
                                                   warming.




          h. Social          Facebook          x   This Facebook post claims that BP is “working to make
          media ad 34                              all forms of energy cleaner and better” because the
                                                   company “agree[s]” that “the world needs fewer
                                                   emissions.”
                                               x   This add exaggerates BP’s efforts to reduce greenhouse
                                                   gas emissions while failing to disclose that its
                                                   investments in clean energy resources form a negligible
                                                   share of its overall business.




         34
              Facebook Ad Library, https://www.facebook.com/ads/library/?id=435441174014180.
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                              ADVERTISING
           DESCRIPTION                                     EXAMPLES OF DECEPTIVE CONDUCT
                               PLATFORM




          i. Social           Instagram 35     x   BP’s bios on Instagram and Twitter read: “Reimagining
          media profiles      Twitter 36           energy for people and our planet #bpNetZero.”
                                               x   This statement deceptively paints BP as a leader in the
                                                   energy transition, while failing to disclose that BP’s
                                                   investments in clean energy resources are minimal
                                                   compared to their fossil fuel portfolio.




         35
              @bp_plc, Instagram, https://www.instagram.com/bp_plc.
         36
              @bp_plc, Twitter, https://twitter.com/bp_plc.
                                                           26


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                              ADVERTISING
           DESCRIPTION                                     EXAMPLES OF DECEPTIVE CONDUCT
                               PLATFORM




          j. Social           Instagram        x   BP writes: “Ꮡ Ꮦ ICYMI: Our #bpNetZero ambition is
                                                                 Ꮥ
                                                                 Ꮤ
                                                                 Ꮣ
                                                                 Ꮢ
          media post 37                            supported by ᔒᔔ Aims to help bp & the world get to net
                                                                 ᔓ
                                                   zero by 2050 or sooner ᇤᇨ Aim 1 is to be net zero across
                                                                           ᇧ
                                                                           ᇦ
                                                                           ᇥ
                                                   our entire operations on an absolute basis ➞
                                                                                              ➡ So, by 2030
                                                                                              ➠
                                                                                              ➟
                                                   we’re aiming to reduce our operational emissions by 30-
                                                   35%.”
                                               x   These representations are deceptive and misleading
                                                   because BP focuses on operational emissions without
                                                   disclosing that end-use emissions are the most significant
                                                   contributor to climate change from its products.




          k. Advancing        YouTube and      x   BP advertises: “All across BP, we are changing,
          Low Carbon          other social         encouraging our people to innovate, create, partner, and
                              media.
         37
              @ bp_plc, Instagram (Feb. 17, 2021), https://www.instagram.com/p/CLZn3A_n-vo.
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                            ADVERTISING
           DESCRIPTION                                 EXAMPLES OF DECEPTIVE CONDUCT
                             PLATFORM
          2020 38 (social                      invest, exploring activities that you might not expect to
          media and                            support our net-zero ambition.” The ad continues: “We
          marketing                            are reimagining energy for people and our planet. We’ve
          video)                               been investing in new businesses: car batteries that in the
                                               future can charge in under five minutes; a charging
                                               infrastructure in the world’s largest EV market; and
                                               intelligent systems to help optimize power supply and
                                               streamline the charging experience. We’re exploring
                                               more ways to capture carbon with technology to remove
                                               CO2 from industrial processes and helping restore native
                                               woodlands and forests. We’re creating new and improved
                                               carbon products: helping our customers reduce emissions
                                               by improving our existing products; using sustainable
                                               biofeed stocks to make diesel and developing advanced
                                               lubricants; technology that can convert waste biomass
                                               into jet fuel and diesel; using natural gas to fuel cars; and
                                               we’re developing lower carbon and energy efficient
                                               solutions for producing chemicals to make everyday
                                               products. We’re working with others to store and manage
                                               the energy we all need by developing solar projects in
                                               more countries, exploring smart grids to help homes
                                               harness and share solar energy, working with startups on
                                               AI technologies that can maximize energy efficiency
                                               within the home and commercial buildings. We’re
                                               continuing to reduce emissions in our operations…So
                                               what’s next? Even more . . . Our people will continue to
                                               drive action across our businesses, to find new ways to
                                               help BP and the world reach net zero.”
                                           x   This promotional material is misleading because it
                                               exaggerates BP’s investments in clean energy resources
                                               (which are minimal) and omits the material facts that
                                               BP’s primary business remains laser-focused on fossil
                                               fuel production, and that its fossil fuel products are a
                                               leading cause of deadly climate change.




         38
           Youtube, Advancing Low Carbon 2020, BP (May 19, 2020),
         https://www.youtube.com/watch?v=R7Afe8qSrcM.
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         18. American Petroleum Institute’s Misleading and Deceptive Greenwashing Campaigns

                               ADVERTISING
              DESCRIPTION                                     EXAMPLES OF DECEPTIVE CONDUCT
                                PLATFORM
          a. Why natural gas Washington Post             x As shown in the screenshots below, API has
          will thrive in the                               run ads in the Washington Post touting the
          age of                                           environmental and climate benefits of natural
          renewables 39 (API                               gas. For example, one states: “The goal of
          paid post)                                       generating 100 percent renewable energy may
                                                           not be achievable. But in the coming decades
                                                           natural gas can help meet the growing global
                                                           demand for sustainable energy.”
                                                        x It continues: “[W]hile high-capacity, low-cost
                                                           batteries may one day enable more solar and
                                                           wind supply, uncovering that innovation will
                                                           take billions more in R&D costs in the hopes
                                                           of achieving that breakthrough. . . . . There is
                                                           one sphere of innovation, however, that has
                                                           already proven to be transformative—the
                                                           expansion of domestic natural gas production
                                                           and consumption.”
                                                        x It then concludes: “Natural gas is part of the
                                                           solution,” stressing that “[n]atural gas burns
                                                           much cleaner than coal and offers a stable
                                                           energy supply that utilities can use in
                                                           conjunction with solar and wind power.”
                                                        x This advertisement misleadingly exaggerates
                                                           the climate impacts of natural gas products by
                                                           failing to disclose the material facts that natural
                                                           gas emits significant amounts of greenhouse
                                                           gas emissions and is a primary driver of
                                                           climate change.




         39
           Why natural gas will thrive in the age of renewables, WASH. POST, Sponsored Content, API, WP Brand
         Studio, https://www.washingtonpost.com/brand-studio/api-why-natural-gas-will-thrive-in-the-age-of-
         renewables/.
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                                   ADVERTISING
              DESCRIPTION                                      EXAMPLES OF DECEPTIVE CONDUCT
                                    PLATFORM




          b. Real climate       Washington Post          x In a paid post crafted to resemble a real news
          solutions won’t                                  article, API writes: “Energy from U.S. natural
          happen without                                   gas and oil is fundamental to economic
          natural gas and                                  recovery and addressing climate change
          oil 40 (API paid                                 goals.” It continues: “We’re capturing
          post)                                            emissions and using them for other
                                                           manufacturing processes. So yes—we proudly
                                                           recycle.”
                                                         x “Amid unprecedented challenges, we’ve
                                                           maintained our focus on reducing greenhouse
                                                           gas emissions and investing in technology to
                                                           help us further reduce our environmental
                                                           footprint,” including “[t]ransitioning to
                                                           [c]leaner [n]atural [g]as,” “[r]educing


         40
           Real climate solutions won’t happen without natural gas and oil, WASH. POST, Sponsored Content,
         API, WP Brand Studio, https://www.washingtonpost.com/brand-studio/wp/2020/12/14/real-climate-
         solutions-wont-happen-without-natural-gas-and-oil/.
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                                   ADVERTISING
              DESCRIPTION                                     EXAMPLES OF DECEPTIVE CONDUCT
                                    PLATFORM
                                                           [m]ethane [e]missions,” and “[r]amping [u]p
                                                           [c]arbon [c]apture.”
                                                         x “We understand that there is much more to do
                                                           to meet the challenges of our times. But the
                                                           natural gas and oil industry recognizes the
                                                           magnitude of what we face, and we are
                                                           confident that we can help to bring about
                                                           change that serves both people and our planet.”
                                                         x These statements are false and misleading
                                                           because API fails to disclose that oil and gas
                                                           are primary drivers of climate change, and that
                                                           continued use of those fossil fuels will lead to
                                                           deadly levels of global warming.




          c. Low- and no-       Washington Post          x In another paid post, API writes: “The fossil
          carbon future                                    fuel is the surprising catalyst for a sustainable
          starts with natural                              power supply.”
          gas 41 (API paid                               x The promotional material continues: “Rather
          post)                                            than getting a bad rap, natural gas should be
                                                           viewed as a powerful tool to reduce
                                                           emissions—while improving air quality.
                                                           Natural gas can help increase the use of
                                                           renewable energy like wind and solar because


         41
           Low- and no-carbon future starts with natural gas, WASH. POST, Sponsored Content, API, WP Brand
         Studio, https://www.washingtonpost.com/brand-studio/wp/2019/02/15/low-and-no-carbon-future-starts-
         with-natural-gas/.
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                                  ADVERTISING
              DESCRIPTION                                     EXAMPLES OF DECEPTIVE CONDUCT
                                   PLATFORM
                                                        it offers a low-cost backup capacity that’s
                                                        critical for the power grid.”
                                                      x It then concludes: “Natural gas is an
                                                        economical,        environmentally      friendly
                                                        complement to renewable energy. The sooner
                                                        green activists realize that, the more effective
                                                        they’ll be at continuing to slash emissions.”
                                                      x This promotional material is deceptive and
                                                        misleading because it conceals the material
                                                        facts that natural gas produces significant
                                                        quantities of greenhouse gas emissions, and
                                                        that continued use of natural gas increases the
                                                        risks of catastrophic climate change.




          d. Power Past        Multi-platform          x     As of July 21, 2020, the Power Past
          Impossible 42        campaign                      Impossible website called oil and natural gas:
                                                             “Energy for a Cleaner Environment.” In
                                                             touting the environmental benefits of oil, the
                                                             website also made the following false or
                                                             misleading assertions: “This is Energy for a
                                                             Cleaner Environment,” “99% Fewer Vehicle
                                                             Emissions,” and “Cleanest Air in More Than
                                                             a Decade.” 43


         42
            See Michael Tadeo, API Launches Power Past Impossible Campaign During Super Bowl Showing
         Natural Gas and Oil Benefit to Consumers in Everyday Life, AMERICAN PETROLEUM INSTITUTE (Feb. 5,
         2017), https://www.api.org/news-policy-and-issues/news/2017/02/05/api-launches-power-past-
         impossible-campa.
         43
            See American Petroleum Institute, Energy for a Cleaner Environment,
         https://web.archive.org/web/20200602111024/https://powerpastimpossible.org/state-of-american-
         energy/energy-for-a-cleaner-environment.
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                                     ADVERTISING
               DESCRIPTION                                         EXAMPLES OF DECEPTIVE CONDUCT
                                      PLATFORM
          e. Energy for           Multi-platform          x    API      touts     its   members’      purported
          Progress 44             campaign                     commitments to reducing their carbon
                                                               footprint, while failing to disclose that its core
                                                               mission continues to be promoting its
                                                               members’ extraction, production, and sale of
                                                               fossil fuels to consumers in New York City and
                                                               throughout the United States at unprecedented
                                                               rates.
                                                          x    Many of API’s television, radio, and internet
                                                               advertisements, including those that reached
                                                               New York City consumers, led to a website for
                                                               a campaign run by API entitled “Energy for
                                                               Progress,” which portrays the oil and gas
                                                               industry as a leader in reducing greenhouse gas
                                                               emissions.
                                                          x    The opening advertisement for the campaign
                                                               states that “natural gas and oil companies have
                                                               […] reduced carbon emission levels to the
                                                               lowest in a generation.” This statement is
                                                               misleading because (1) global carbon
                                                               emissions have not declined, but rather
                                                               increased; (2) although carbon dioxide
                                                               emissions have declined slightly in the United
                                                               States, “carbon emissions” includes both
                                                               carbon dioxide and methane, which in total
                                                               have not been shown to have declined; and
                                                               (3) the advertisement credits the natural gas
                                                               and oil industry for this claimed decline in U.S.
                                                               emissions, when in fact carbon dioxide
                                                               emissions have reduced in part from the
                                                               adoption of renewable energy systems as well
                                                               as from macroeconomic factors such as
                                                               recession and changes in economic activity.
                                                          x    For at least six months, the campaign’s website
                                                               cast natural gas as a “clean” fuel before that
                                                               description was revised to “cleaner” sometime
                                                               in summer 2020.
                                                          x    Among many articles and images promoting
                                                               fossil fuel companies’ claimed contributions to
                                                               clean energy, the website advertises “4 Ways
                                                               We’re Protecting Wildlife” and “5 Ways We’re
                                                               Helping       to    Cut    Emissions,”      which

         44
              See ENERGY FOR PROGRESS, American Petroleum Institute, https://energyforprogress.org.
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                                   ADVERTISING
              DESCRIPTION                                       EXAMPLES OF DECEPTIVE CONDUCT
                                    PLATFORM
                                                            misleadingly portrays the oil and gas industry
                                                            as an environmental leader by focusing on
                                                            marginal improvements in operational
                                                            emissions while ignoring the much greater
                                                            emissions from the industry’s products. 45
                                                       x    These messages are not meant to encourage
                                                            consumers to transition to low carbon energy
                                                            sources—just the opposite. By obfuscating the
                                                            reality that fossil fuels are the driving force
                                                            behind anthropogenic climate change, they are
                                                            designed to increase consumers’ use of fossil
                                                            fuels in order to advance API’s core mission of
                                                            growing its member companies’ oil and natural
                                                            gas businesses.
          f. Social media      Facebook                x    As part of its “Energy for Progress” campaign,
          ad 46                                             API has run a series of Facebook
                                                            advertisements, many of which have reached a
                                                            substantial number of New York consumers,
                                                            that falsely paint the fossil fuel industry as a
                                                            leader on climate change action, e.g., “We can
                                                            tackle climate change and meet the world’s
                                                            energy needs by embracing new innovations
                                                            together,” “Let’s create climate solutions
                                                            together.”




          g. Social media      Facebook                x    “We can all agree we need strong climate
          ad 47                                             solutions—and with natural gas as a dominant
                                                            energy source, U.S. carbon emissions are the
                                                            lowest levels in a generation.”

         45
            See American Petroleum Institute, 5 Ways We’re Using Energy for Progress, ENERGY FOR PROGRESS,
         https://energyforprogress.org/the-basics.
         46
            See Facebook Ad Library, https://www.facebook.com/ads/library/?id=1554734221395483.
         47
            See Facebook Ad Library, https://www.facebook.com/ads/library/?id=306269540617537.
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                                      ADVERTISING
               DESCRIPTION                                          EXAMPLES OF DECEPTIVE CONDUCT
                                       PLATFORM
                                                          x     Such statements are misleading because they
                                                                omit the significant methane emissions from
                                                                natural gas that are potent greenhouse gases.




          i. Social media         Twitter                  x     “Our economic and environmental picture is
          ad 48                                                  incomplete without sufficient and modern
                                                                 natural gas and oil infrastructure. Pipelines
                                                                 bolster...Job     Creation     . . . Economic
                                                                 Prosperity         Renewable           Energy
                                                                 Growth . . . Environmental Progress.”
                                                          x     Such representations are deceptive because
                                                                they portray fossil fuels as part of
                                                                “environmental progress” and fail to disclose

         48
              @APIenergy, Twitter (Apr. 12, 2021), https://twitter.com/APIenergy/status/1381620887569494019.
                                                               35


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                                      ADVERTISING
               DESCRIPTION                                         EXAMPLES OF DECEPTIVE CONDUCT
                                       PLATFORM
                                                               the fact that oil and gas generate large
                                                               quantities of greenhouse gas emissions that
                                                               have severe, adverse effects on the climate.




          j. Social media         Twitter                 x     “Natural gas will continue to play a
          ad 49                                                foundational role in the world’s energy mix for
                                                               decades to come. Not only is it an essential
                                                               partner to intermittent renewables, but it has
                                                               also helped lower U.S. CO2 emissions to their
                                                               lowest levels in a generation.”
                                                          x    That statement is false because natural gas is
                                                               not necessary to scale up renewables, which
                                                               can be accomplished with zero-emission
                                                               technologies such as battery storage.
                                                          x    The statement deceptively exaggerates the
                                                               climate benefits of gas by (1) omitting the fact
                                                               that natural gas emits large quantities of
                                                               greenhouse gas emissions that have significant,

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              @APIenergy, Twitter (Apr. 5, 2021), https://twitter.com/APIenergy/status/1379170983647580169.
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                              ADVERTISING
            DESCRIPTION                             EXAMPLES OF DECEPTIVE CONDUCT
                               PLATFORM
                                                 adverse effects on the planet’s climate, and
                                                 (2) crediting the natural gas and oil industry for
                                                 this claimed decline in U.S. emissions, when in
                                                 fact carbon dioxide emissions have reduced in
                                                 part from the adoption of renewable energy and
                                                 from macroeconomic factors such as recession
                                                 and changes in economic activity




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                                              THE CITY OF NEW YORK
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                                                 NEW YORK, NY 10007



                                                               April 22, 2021



           Clerk’s Office
           Supreme Court of the State of New York
           New York County Courthouse
           60 Center Street – Room 161
           New York, New York 10007


                          Re: City of New York v. Exxon Mobil Corp., ExxonMobil Oil Corporation,
                          Royal Dutch Shell plc, Shell Oil Company, BP p.l.c, BP America Inc., and
                          American Petroleum Institute

           Dear Sir or Madam,

                  Please be advised that, pursuant to CPLR 8017(a), 8018(d)(1), and 8019(d), and pursuant
           to Section 7-102 of the New York City Administrative Code, the New York City Law
           Department is exempt from filing and other fees.

                   Thank you for your cooperation.



                                                                      Sincerely,
                                                                      /s/ Alice R. Baker
                                                                      Alice R. Baker
                                                                      Assistant Corporation Counsel




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